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10                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13

14   CHRISTINE RIGANIAN and DONNA                 Case No. 4:25-cv-00824 (JST)
     SPURGEON, on behalf of themselves and
15   all others similarly situated,               FIRST AMENDED CLASS ACTION
                                                  COMPLAINT
16
                    Plaintiffs,                   DEMAND FOR JURY TRIAL
17          v.

18   LIVERAMP HOLDINGS INC. and
     LIVERAMP, INC., corporations organized
19
     under the laws of the State of Delaware,
20
                    Defendants.
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 1   I.      INTRODUCTION
 2          1.      Americans do not expect that as they go about their daily lives they are being

 3   constantly tracked, surveilled, and manipulated by third parties with whom they never directly

 4   interact. Defendants LiveRamp Holdings, Inc. and LiveRamp, Inc. (collectively “LiveRamp”)

 5   engage in and profit from precisely such conduct by operating a massive identity surveillance system

 6   that assigns every American a proprietary, permanent identifier—the equivalent of an online social

 7   security number—which is tied to personal information such as names, postal addresses, email

 8   addresses, phone numbers, and to digital IDs referring to browsers and user accounts at online

 9   services, smartphones, and other devices associated with that person. LiveRamp uses its systems to

10   profit from Americans’ nearly every move online and offline, selling that information to third parties

11   so that they may further surveil and manipulate people.

12          2.      This complaint sets forth how the regularly conducted business practices of

13   LiveRamp amount to the deliberate and purposeful surveillance of the general American population

14   via their digital and online existence. As a worldwide data broker and identity resolution provider,

15   LiveRamp has created a network that tracks in real time and records indefinitely the personal

16   information of hundreds of millions of people. LiveRamp sells this detailed personal information to

17   third parties through its “RampID” identity graph system, “Data Marketplace,” and other related

18   products and services derived from this data. The proposed Classes herein lack a direct relationship

19   with LiveRamp and have no reasonable or practical basis upon which they could legally consent to

20   LiveRamp’s surveillance.

21          3.      LiveRamp’s business involves the maintenance of vast databases of personal

22   information, from postal addresses and phone numbers to email addresses and electronic device and

23   smartphone identifiers. LiveRamp infers connections between these pieces of information, linking

24   them with “pseudonymous” (i.e., not truly anonymous, but only partially obfuscated) identifiers so

25   that with just one piece of information—a device identifier or email address for example—a

26   comprehensive identifying profile of an individual can be retrieved. Its databases are in effect private

27   population registers: they contain the names, addresses, phone numbers, digital and device

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 1   identifiers, and electronic identity information for virtually every adult in the United States, updated
 2   in real time.
 3           4.      LiveRamp sells this functionality to a wide range of online actors, allowing them to
 4   monitor individuals as they browse, and to communicate with other online actors about
 5   individuals—most particularly individuals whom they want to, or allow other entities to, track,
 6   profile, and manipulate. In this way, LiveRamp’s processing plays a major role in the worldwide
 7   commercial surveillance ecosystem. 1 LiveRamp also enables other data brokers to sell personal
 8   information about millions of people to data buyers, who can then further transmit records to other
 9   companies, all while ensuring the commercial actors in the chain are talking about the same
10   individuals.
11           5.      LiveRamp partners with the largest companies in the world to effect its massive
12   surveillance network. For example, Google, Amazon, Meta, TikTok, and Microsoft are all
13   LiveRamp “partners” that use LiveRamp’s surveillance systems to track and manipulate people. 2
14   LiveRamp’s conduct is uniquely invasive precisely because it allows for such wide-scale sharing
15   and use of personal information amongst many actors.
16           6.      LiveRamp maintains “the largest and most accurate people-based identity graph on
17   the market,” purportedly containing detailed personal information on 700 million consumers
18   globally. 3 An “identity graph is” a “people-based map” connecting “offline touchpoints and online
19   devices”—in other words, it is a map that connects “offline” information about people, such as their
20
      1
        As defined by the Federal Trade Commission, “Commercial surveillance is the business of
21    collecting, analyzing, and profiting from information about people. Technologies essential to
      everyday life also enable near constant surveillance of people’s private lives. The volume of data
22    collected exposes people to identity thieves and hackers. Mass surveillance has heightened the
      risks and stakes of errors, deception, manipulation, and other abuses.” See Commercial
23    Surveillance and Data Security Rulemaking, FEDERAL TRADE COMMISSION (Aug. 11, 2022),
      https://www.ftc.gov/legal-library/browse/federal-register-notices/commercial-surveillance-data-
24    security-rulemaking [https://perma.cc/7DDW-SL7L].
      2
25      See How to Use, LIVERAMP ACTIVATION, https://developers.liveramp.com/activation-
      api/v1.1/reference/guide [https://perma.cc/85VG-VV59].
26    3
        Interpreting RampID, LiveRamp’s People-Based Identifier, LIVERAMP,
      https://docs.liveramp.com/connect/en/interpreting-rampid,-liveramp-s-people-based-
27    identifier.html [https://perma.cc/LC62-K3V2]; LiveRamp, Form 10-K (Mar. 31, 2021),
      https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
28    [https://perma.cc/KFM8-8KWQ].
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 1   name, home address, and phone number, with their “online” devices such as web browsers, mobile
 2   phones, tablets, smart or “connected” TVs, and gaming consoles. 4 LiveRamp’s identity graph
 3   connects all these identifying points of data into a single, non-anonymous “identity profile”
 4   connected to a real person that can be used to track all of that person’s online activity in real time.
 5   As one commentator described it, “LiveRamp has created what is probably the world’s most
 6   complete shadow identity system, with detailed profiles for a large proportion of the world’s online
 7   users.” 5
 8           7.     While individuals generally know nothing about LiveRamp, LiveRamp knows an
 9   enormous amount about them. LiveRamp’s business is to collect, process, and sell this individual-
10   level data to other data brokers or businesses, allowing them to track, follow, profile, and target
11   people across the digital online and offline worlds. LiveRamp’s clients can, in turn, buy and sell
12   personal information through “segments” (i.e., lists of identifiers associated with people sharing
13   certain characteristics) via LiveRamp’s “Data Marketplace.” 6 As recently reported, LiveRamp’s
14   clients buy and sell “segments” of digital identifiers associated with people’s highly sensitive health,
15   religious, economic, sexual, and financial information; LiveRamp makes or has made available for
16   sale segments of people with cancer, union members, Muslims, Jewish people, African Americans,
17   poor people, payday loan prospects, online gamblers, unemployed individuals who were “seen at
18   clinics/hospitals” and users of the LGBT dating app Grindr. 7
19
      4
20      RampID Methodology, LIVERAMP, https://docs.liveramp.com/identity/en/rampid-
      methodology.html [https://perma.cc/8WFU-C2JA].
21    5
        Glyn Moody, This Global Identity System Tracks Everything You Do Online, PRIVATE INTERNET
      ACCESS (Mar. 12, 2024), https://www.privateinternetaccess.com/blog/global-identity-system-
22    tracks-you/ [https://perma.cc/VJ6Y-M48J].
      6
23      Selling Data with the Data Marketplace, LIVERAMP,
      https://docs.liveramp.com/connect/en/selling-data-with-the-data-marketplace.html
24    [https://perma.cc/9XJB-9KYA].
      7
        Jon Keegan and Joel Eastwood, From “Heavy Purchasers” of Pregnancy Tests to the
25    Depression-Prone: We Found 650,000 Ways Advertisers Label You, THE MARKUP (June 8, 2023),
      https://themarkup.org/privacy/2023/06/08/from-heavy-purchasers-of-pregnancy-tests-to-the-
26    depression-prone-we-found-650000-ways-advertisers-label-you [https://perma.cc/MUG2-N38J].
      The Xandr spreadsheet file is available at:
27    https://web.archive.org/web/20230525225541mp_/https://xandr-be-
      prod.zoominsoftware.io/bundle/monetize_monetize-standard/page/attachments/data-marketplace-
28    buyer-overview/data_marketplace_public_segments_pricing_05212021.xlsx.
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 1          8.      This Data Marketplace could not exist without LiveRamp’s vast identity graph
 2   system, “RampID,” and “identity resolution services.” “Identity resolution” refers to the process of
 3   merging or “resolving” various distinct pieces of personal information or “touchpoints” (an email
 4   address, physical address, and a mobile device ID, for example) into a comprehensive “identity
 5   profile” of a single person, facilitated by LiveRamp’s identity graph systems.
 6          9.      All of this is done without consumers’ consent or even their awareness that it is
 7   happening. The breadth and complexity of methods and sources by which LiveRamp collects
 8   personal information to compile digital dossiers, or comprehensive identity profiles, on consumers
 9   is such that as a practical matter, consumers have no way of knowing—let alone being able to
10   consent to—LiveRamp’s conduct. Consumers do not, merely by virtue of conducting the necessary
11   activities of daily life, both online and offline, consent to LiveRamp’s creation of comprehensive
12   identity profiles about them and the company’s constant and pervasive surveillance.
13          10.     LiveRamp’s processing is complex, and the way its business model works is opaque
14   and difficult to understand for ordinary consumers, including Plaintiffs. LiveRamp’s conduct as
15   described herein is such that individuals engaging in virtually any online activity can be tracked and
16   influenced in a personalized way without them realizing it. Indeed, even where a person employs
17   internet usage behaviors that they might think protect them from being tracked—for example, not
18   logging into sites, or only providing partial contact information—they can be monitored and profiled
19   in ways they would not expect as a result of LiveRamp’s practices described herein.
20          11.     LiveRamp’s data coffers contain vast repositories of personal information compiled
21   from Plaintiffs’ browsing activity, online communications, and offline, real-world activity, which
22   LiveRamp offers for sale to third parties. As one well-known security researcher described it,
23   “LiveRamp is like a stalker, who gradually learns more about the target, but it’s highly automated,
24   at population scale, and it sells this stalking ability to many other companies.” 8
25

26
     8
       Wolfie Christl, quoted in John Leonard, ‘Like a stalker’: Data Broker LiveRamp Reported to
27   UK, French Regulators, COMPUTING (Mar. 4, 2024),
     https://www.computing.co.uk/news/4180665/stalker-broker-liveramp-reported-uk-french-
28   regulators [https://perma.cc/2GG3-NG4W].
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 1          12.     Plaintiffs are concerned citizens who believe that LiveRamp’s identity surveillance
 2   technologies abrogate Americans’ privacy and autonomy. Plaintiffs bring this action to enforce their
 3   fundamental right to privacy, seek redress and compensation for the financial, dignitary, and
 4   relational harms LiveRamp has caused, and obtain a ruling that LiveRamp’s conduct is unlawful
 5   and therefore must stop. The law, as alleged below, entitles Plaintiffs and the proposed Classes to
 6   these remedies.
 7   II.     PLAINTIFFS
 8           A.        Plaintiff Christina Riganian
 9          13.     Plaintiff Christina Riganian is a resident of Tujunga, California. Like most members
10   of modern society, Plaintiff Riganian must use the Internet to conduct routine affairs of daily life.
11                     1.     LiveRamp’s Comprehensive Identity Profile on Plaintiff Riganian
12          14.     On September 13, 2024, Plaintiff Riganian received a “Subject Access Request”
13   (SAR) 9 from LiveRamp indicating that LiveRamp has created a massive and comprehensive identity
14   profile on her. The SAR consists of 18 separate “excel” spreadsheet files that purportedly reflect the
15   information LiveRamp collected and processed on her. These files collectively contain several
16   thousand pieces of information about Plaintiff Riganian. Based on a reasonable investigation of
17   these files and the explanatory information made available by LiveRamp:
18                     a.     “names_and_phones” and “names_and_postals”: These two files
19           contains almost every address where Plaintiff Riganian has lived since 1992, when she was
20           a child, and every phone number that has been associated with her for the last twenty years.
21                     b.     “names_and_emails”: This file contains years’ worth of electronic
22           identifiers associated with her, including email addresses she has used for at least the last
23           twenty years.
24                     c.     “ps_links”: LiveRamp also collected and associated over six hundred
25           cookies and unique device identifiers, and hashed email-associated identifiers, with the
26           profile it maintains on her.
27
     9
       Out of respect for Plaintiff Riganian’s privacy, the SAR is not attached to this Complaint but is
28   incorporated by reference herein.
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 1                  d.      “mobile_links”: This file demonstrates LiveRamp collected and associated
 2          with Plaintiff Riganian over one hundred unique “mobile advertising IDs” that were
 3          associated with her mobile devices.
 4                  e.      “cid_links”: This file demonstrates that LiveRamp collected and associated
 5          with its internal profile on Plaintiff Riganian hundreds of “Custom IDs” (“CIDs”) from
 6          “various partners [LiveRamp] work[s] with.” 10 CIDs are “typically persistent and assigned
 7          to you when you create an account with our partners e.g. a social media network,
 8          subscription service, or rewards program for retailers.” In other words, LiveRamp collected
 9          identifiers associated with Plaintiff Riganian from hundreds of third parties across the
10          internet in order to enrich its internal identity dossier on Plaintiff Riganian.
11                  f.      “mobile_pel_requests”: This file contains a log of over 1,800 instances
12          over the last four years in which a LiveRamp pixel was deposited on one of Plaintiff
13          Riganian’s devices. The vast majority of these—nearly 1,400—were deposited in the last
14          year, averaging almost 4 incidents a day. Because of the deliberately obfuscatory and
15          incomplete nature of the information LiveRamp provides in this file, Plaintiffs cannot
16          determine the websites, mobile apps, or third parties these pixels are associated with. On
17          information and belief, these pixels represent at least some instances of LiveRamp’s
18          deployment of the wiretapping mechanisms described below on Plaintiff Riganian’s
19          devices.
20                  g.      “ThirdPartyAccessList”: This file contains a (potentially incomplete) 11
21          list of the “specific third parties to which LiveRamp has disclosed [Plaintiff Riganian’s]
22          personal data.” 12 The csv file discloses that LiveRamp shared Plaintiff Riganian’s personal
23          information with at least 62 third parties, including pharmaceutical companies (AbbVie),
24          publishers (e.g., USA Today, Future plc), advertisers (e.g., Hewlett Packard, Kraft),
25
     10
        Data Subject Access Request Explanatory Information Document Consumer Data at 8, version
26   3.2, LIVERAMP (May 31, 2024).
     11
27      Id. at 14 (LiveRamp states that it may withhold the names of some third parties with which it has
     shared data: “Some third parties may be withheld because the customer list is a trade secret.”).
28   12
        Id.
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 1              AdTech firms and intermediaries (e.g., Freewheel, a Comcast subsidiary), AdTech giants
 2              (e.g., Google, Amazon, Microsoft), and also data brokers who sell third-party data via
 3              LiveRamp’s Data Marketplace (e.g., Lotame, IRI). This file thus demonstrates the sheer
 4              scope of LiveRamp’s surveillance and information-sharing network, which disseminated
 5              Plaintiff Riganian’s personal information across the internet and made it available to
 6              potentially thousands of additional parties who may then trade in or resell Plaintiff
 7              Riganian’s personal information.
 8             15.    The SAR contains nearly a dozen additional files, demonstrating LiveRamp’s
 9   tracking of Plaintiff Riganian’s online activity through various companies such as smart-TV maker
10   Vizio, audio streaming service Pandora, tech giant Amazon, and other AdTech companies and data
11   brokers.
12             16.    The SAR also discloses that LiveRamp has assigned to Plaintiff Riganian inescapable
13   and persistent “RampIDs”—the equivalent of a universal “online social security number” used to
14   track, profile, and persistently surveil her, as described in detail below.
15             17.    The SAR further discloses that LiveRamp has collected and maintains in its identity
16   resolution systems two of the most sensitive pieces of information about Plaintiff Riganian—her
17   social security number and her driver’s license data—and has used that information to permanently
18   identify her. LiveRamp admits that it “collect[s] Social Security Number and Driver’s License data
19   associated with US residents” and that “[t]his data is used internally for identity resolution
20   purposes.” 13
21                     2.     LiveRamp’s Interception and Use of Plaintiff Riganian’s Online
                              Browsing Activity
22
               18.    LiveRamp continues to track Plaintiff Riganian’s online and offline activity, enrich
23
     the profile on her as described below, and make her personal information available to third parties
24
     without her consent. Plaintiff Riganian has visited websites where her electronic communications
25
     were intercepted by the use of LiveRamp code, as described below.
26

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28   13
          Id. at 7.
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 1           19.    The full scope and extent of LiveRamp’s tracking and compiling of Plaintiff
 2   Riganian’s online and offline activity and personal information resides with LiveRamp itself, is not
 3   fully disclosed by LiveRamp, and therefore must be determined through discovery from LiveRamp.
 4   Based on a reasonable investigation, Plaintiff Riganian alleges as follows:
 5           20.    LiveRamp has tracked Plaintiff Riganian’s activity on at least hundreds of websites
 6   and mobile apps, including the interception and collection of Plaintiff’s searches for and views of
 7   articles related to health and personal financial issues on numerous websites. LiveRamp tracking
 8   mechanisms—including “cookies,” “pixels,” or JavaScript code—as described below at paragraphs
 9   74–79, were present on those websites.
10           21.    Those tracking mechanisms transmitted to LiveRamp the URL data, coupled with
11   unique identifiers that LiveRamp used to associate browsing history with other data, compiled into
12   a data profile about Plaintiff Riganian. LiveRamp’s wiretapping and pen register code—which
13   transmits to LiveRamp domains “di.rlcdn.com” and “ats.rlcdn.com”—was present on a subset of
14   websites visited by Plaintiff, which, in turn, transmitted to LiveRamp the content of Plaintiff’s
15   communications and interactions with the websites, including the precise articles read, products
16   viewed, as well as routing, addressing or signaling information related to these online interactions.
17   LiveRamp maintains a data profile concerning Plaintiff Riganian, to which LiveRamp provides
18   direct or indirect access (e.g., via products or services derived from the profile) to at least dozens of
19   third parties. LiveRamp engaged in this conduct throughout the class period.
20           22.    For example, Plaintiff Riganian visited the website CVS.com to view information on
21   specific conditions and medications. Plaintiff Riganian browsed to a URL substantially similar to
22   this one: 14
23           https://www.cvs.com/shop/nauzene-upset-stomach-relief-chewable-tablets-42-ct-
             prodid-459986
24

25           23.    On CVS.com, LiveRamp’s eCST (enhanced client-side tag)—described in detail in
26   Section VII.A.2. below—is deployed. It is configured to intercept contents of communications,
27
      14
         To protect Riganian’s health privacy, the specific URL she browsed to on the CVS.com website
28    is not used an example.
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 1   encoded in LiveRamp’s systems as “pdata,” including the full URL revealing the specific item
 2   viewed by the website user, as illustrated by the following URL, with the precise drug being viewed
 3   sent to LiveRamp (“pdata” indicated in bold):
 4          https://di.rlcdn.com/api/segment?pid=712618&pdata=page_landing%3Dno%2Cc
            onversion_sales%3Dno%2Cshop_category%3Dcvs-health-morning-motion-
 5
            sickness-bands-2-ct-prodid-996552%2Cshop_hierarchy%3Dhealth_medicine
 6          %3Adigestive_health %3Amotion_sickness_nausea

 7

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14
            24.     The LiveRamp trackers on the CVS.com website are configured to intercept and
15
     simultaneously transmit to LiveRamp the full URL of the products viewed.
16
            25.     Additionally, LiveRamp captures “segment” and “category” information related to
17
     these products—such as “health medicine,” “digestive health,” and “motion sickness nausea” in the
18
     example above—and associates Plaintiff Riganian with these “segments” and “categories,” thereby
19
     adding to the information LiveRamp has compiled on her. On information and belief, these segments
20
     and categories—which reflect specific medications and conditions Plaintiff Riganian searched for
21
     on CVS.com, were made available for sale through LiveRamp, either directly through its “Data
22
     Marketplace” or otherwise facilitated by LiveRamp’s systems, described in detail below.
23
            26.     The websites visited by Plaintiff Riganian where LiveRamp’s tracking mechanisms
24
     have been detected include but are not limited to:
25
                     a.     Healthline.com
26
                     b.     CVS.com
27
                     c.     Health.usnews.com
28

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 1                    d.      Goodrx.com
 2                    e.      LAtimes.com
 3              27.   Additionally, LiveRamp’s tracking mechanisms—in particular cookies—were
 4   located on Plaintiff Riganian’s devices. These cookies were associated with Plaintiff Riganian’s
 5   visits to the website hulu.com and a banking website. 15
 6              28.   On information and belief, LiveRamp also offers for sale detailed and highly
 7   sensitive personal information on Plaintiffs through its Data Marketplace. LiveRamp claims to
 8   “offer multi-sourced insight into approximately 700 million consumers worldwide” 16 through its
 9   Data Marketplace, fueled by permanent “RampID” internet identification numbers assigned to these
10   people, including Plaintiff Riganian. The full extent and nature of the personal information related
11   to Plaintiff Riganian bought and sold on the Data Marketplace is unknown to her.
12              B.    Plaintiff Donna Spurgeon
13              29.   Plaintiff Donna Spurgeon is a resident of Lowell, Oregon, and previously a resident
14   of Ojai, California. Like most members of modern society, Plaintiff Spurgeon must use the Internet
15   to conduct routine affairs of daily life, including managing her financial, medical, and personal
16   affairs.
17                    1.      LiveRamp’s Comprehensive Identity Profile on Plaintiff Spurgeon
18              30.   On January 12, 2024, Plaintiff Spurgeon received a “Subject Access Request”
19   (SAR) 17 from LiveRamp indicating that LiveRamp has created a massive and comprehensive
20   identity profile on her. The SAR consists of 9 separate “excel” spreadsheet files that purportedly
21   reflect the information LiveRamp collected and processed on her. These files collectively contain
22   hundreds of lines of information about Plaintiff Spurgeon. Based on a reasonable investigation and
23   the explanatory information made available by LiveRamp, these files provide as follows:
24

25    15
         Banking website not named to protect Plaintiff Riganian’s financial privacy.
      16
26       LiveRamp, Form 10-K, at 12 (Mar. 31, 2021),
      https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
27    [https://perma.cc/KFM8-8KWQ].
      17
         Out of respect for Plaintiff Spurgeon’s privacy, the SAR is not attached to this Complaint but is
28    incorporated by reference herein.
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 1                   a.        “names_and_phones” and “names_and_postals”:                   These two files
 2           contain almost every address she has lived at and every phone number that has been
 3           associated with her for at least the last twenty-five years.
 4                   b.        “names_and_emails”: This file contains years’ worth of electronic
 5           identifiers associated with her, including email addresses she has used for at least the last
 6           fourteen years.
 7                   c.        “ps_links”: LiveRamp also collected and associated with the profile it
 8           maintains on her dozens of cookies and unique device and advertising identifiers.
 9          31.      The SAR also discloses that LiveRamp has assigned to Plaintiff Spurgeon an
10   inescapable and persistent “RampID”—the equivalent of a universal “online social security number”
11   used to track, profile, and persistently surveil her, as described in detail below.
12          32.      The SAR also demonstrates that LiveRamp has collected and maintains in its identity
13   resolution systems two of the most sensitive pieces of information about Plaintiff Spurgeon—her
14   social security number and her driver’s license data—and has used that information to permanently
15   identify her. LiveRamp admits that it “collect[s] Social Security Number and Driver’s License data
16   associated with US residents” and that “[t]his data is used internally for identity resolution
17   purposes.” 18
18                   2.        LiveRamp’s Interception and Use of Plaintiff Spurgeon’s Online
                               Browsing Activity
19
            33.      LiveRamp continues to track Plaintiff Spurgeon’s online and offline activity, enrich
20
     the profile on her as described below, and make her personal information available to third parties
21
     without her consent. Plaintiff Spurgeon has visited websites where her electronic communications
22
     were intercepted by the use of LiveRamp code, as described below.
23
            34.      The full scope and extent of LiveRamp’s tracking and compiling of Plaintiff
24
     Spurgeon’s online and offline activity and personal information resides with LiveRamp itself, is not
25
     fully disclosed by LiveRamp, and therefore must be determined through discovery from LiveRamp.
26
     Based on a reasonable investigation, Plaintiff Spurgeon alleges as follows:
27
     18
       Data Subject Access Request Explanatory Information Document Consumer Data at 7, version
28   3.2, LIVERAMP (May 31, 2024).
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 1          35.     LiveRamp has tracked Plaintiff Spurgeon’s activity on at least hundreds of websites,
 2   including the interception and collection of Plaintiff’s searches for and views of articles related to
 3   health and personal financial issues on numerous websites. LiveRamp tracking mechanisms—
 4   including “cookies,” “pixels,” and JavaScript code—as described below at paragraphs 74–79, were
 5   present on those websites.
 6          36.     Those tracking mechanisms transmitted URL data to LiveRamp, coupled with unique
 7   identifiers that LiveRamp used to associate browsing history with other data, compiled into a data
 8   profile about Plaintiff Spurgeon. LiveRamp’s wiretapping and pen register code—which transmits
 9   to LiveRamp domains “di.rlcdn.com” and “ats.rlcdn.com”—was present on a subset of websites
10   visited by Plaintiff, which, in turn, transmitted to LiveRamp the content of Plaintiff’s
11   communications and interactions with the websites, including the precise articles read, products
12   viewed, and searches queried as well as routing, addressing or signaling information related to these
13   online interactions. LiveRamp maintains a data profile concerning Plaintiff Spurgeon, to which
14   LiveRamp provides direct or indirect access (e.g., via products or services derived from the profile)
15   to unknown third parties. LiveRamp engaged in this conduct throughout the class period.
16          37.     The websites visited by Plaintiff Spurgeon where LiveRamp’s tracking mechanisms
17   have been detected include but are not limited to:
18                   a.      Healthline.com
19                   b.      CVS.com
20                   c.      Abcnews.go.com
21                   d.      Patient.info
22                   e.      Svu.edu
23                   f.      Health.usnews.com
24                   g.      Showtime.com
25          38.     On information and belief, LiveRamp also offers for sale detailed and highly
26   sensitive personal information on Plaintiff Spurgeon through its Data Marketplace, described in
27   detail below. LiveRamp claims to “offer multi-sourced insight into approximately 700 million
28   consumers worldwide” through its Data Marketplace, fueled by permanent “RampID” internet

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 1   identification numbers assigned to these people, including Plaintiff Spurgeon, as described in detail
 2   below. The full extent and nature of the personal information related to Plaintiff Spurgeon bought
 3   and sold on the Data Marketplace is unknown to her.
 4   III.     DEFENDANTS
 5            39.   LiveRamp Holdings, Inc. is a United States public corporation incorporated under
 6   the laws of the State of Delaware. LiveRamp Holdings, Inc.’s principal place of business is 225
 7   Bush Street, 17th Floor, San Francisco, California 94104. LiveRamp Holdings, Inc. is the ultimate
 8   legal parent company of LiveRamp, Inc. 19
 9            40.   LiveRamp, Inc. is a wholly-owned subsidiary of LiveRamp Holdings, Inc.
10   incorporated in Delaware and, as represented in Defendant’s Corporate Disclosure Statement and
11   Certificate of Interested Entities or Persons by LiveRamp Holding, Inc. (ECF 19), “is the operating
12   entity for some of the alleged business practices at issue in the Complaint.” The entity is registered
13   with the State of California under California Civil Code § 1798.99.80 as a “data broker.” LiveRamp,
14   Inc.’s principal place of business is also 225 Bush Street, 17th Floor, San Francisco, California
15   94104.
16   IV.      JURISDICTION AND VENUE
17            41.   This Court has jurisdiction over the subject matter of this case under 28 U.S.C.
18   § 1331, because it arises under the laws of the United States, namely 18 U.S.C. ch. 119, and under
19   28 U.S.C. § 1367, because Plaintiffs’ nonfederal claims share a common nucleus of operative fact
20   with their federal claims.
21            42.   This Court has jurisdiction over the subject matter of this case under 28 U.S.C.
22   § 1332(d), because it is a putative class action in which at least one member of the putative classes
23   is a citizen of a different state than LiveRamp, and in which the matter in controversy, exclusive of
24   interest and costs, exceeds the sum or value of $5,000,000.
25            43.   This Court has personal jurisdiction over LiveRamp, because LiveRamp is at home
26   in California and because the claims arise from LiveRamp’s conduct in California.
27
     19
28      LiveRamp, Form 10-K, Exhibit 21 – Subsidiaries of LiveRamp Holdings, Inc. (Mar. 31, 2024)
     https://investors.liveramp.com/static-files/2fd51cfe-75fd-4ac0-867a-1fd39a550041.
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 1           44.     Venue lies in this District under 28 U.S.C. § 1391(b)(1) and (b)(2), because
 2   LiveRamp resides in this District, and because a substantial part of the events or omissions giving
 3   rise to Plaintiffs’ claims occurred in this District.
 4    V.        CHOICE OF LAW
 5           45.     California law governs the substantive legal issues in this case. The State of
 6   California has a significant interest in regulating the conduct of businesses operating within its
 7   borders.
 8           46.     LiveRamp’s principal place of business is San Francisco, California, where it is
 9   registered as a data broker under California law, and where it maintains the “nerve center” of its
10   business activities—the place where its high-level officers direct, control, and coordinate the
11   corporation’s activities, including its marketing, software development, and major policy, financial,
12   and legal decisions.
13           47.     LiveRamp’s privacy-invasive conduct as described herein emanated from, and was
14   conceived and executed in, California.
15           48.     Upon information and belief, LiveRamp maintains and uses servers located in the
16   state of California, through which it receives and re-directs the communications and dialing, routing,
17   addressing, and signaling information at-issue in this case and installs surveillance devices on
18   Plaintiffs computers in violation of Cal. Pen. Code §§ 631 and 638.
19           49.     Under California’s choice of law principles, which are applicable to this action, the
20   common law of California applies to the common law claims of the Class members.
21    VI.       DIVISIONAL ASSIGNMENT
22           50.     Pursuant to Civil L.R. 3-2(c), assignment to this division is proper because a
23   substantial part of the conduct which gives rise to Plaintiffs’ claims occurred in this District.
24   LiveRamp’s conduct as described below is directed at Internet users and people throughout the
25   United States, including in San Francisco County, California.
26    VII.      STATEMENT OF FACTS
27              A.    LiveRamp Collects, Buys, and Analyzes Vast Amounts of On- and
                      Offline Data to Track Individual Consumers Everywhere on the
28

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 1                   Internet and in the Real World.
 2          51.     LiveRamp, formerly known as Acxiom, 20 is registered as a “data broker” in

 3   California (and in other states), which is defined as “a business that knowingly collects and sells to

 4   third parties the personal information of a consumer with whom the business does not have a direct

 5   relationship.” Cal. Civ. Code § 1798.99.80.

 6          52.     LiveRamp sits at the center of a vast commercial surveillance ecosystem. Its critical

 7   function in that ecosystem is to connect (1) what third parties know about consumers with (2) the

 8   places where consumers may be found—both online and in the physical world. “This gives

 9   advertisers two critical pieces of information: a person and their intent.” 21

10          53.     LiveRamp’s business is the omnipresent, virtually inescapable tracking of these two

11   data points wherever a person goes in their online or offline activity, so that with just one piece of

12   information (a mobile device identifier or email address, for example), LiveRamp can generate a

13   comprehensive identity profile of that person by compiling names, phone numbers, and physical

14   addresses together with online identifiers such as device IDs, cookies, and browsers, thereby creating

15   a “360 degree view” of an individual person.

16          54.     LiveRamp then sells this functionality to a wide range of “partners,” allowing them

17   to monitor people as they go about their daily lives, and to communicate with other online actors

18   about those people—most particularly people whom they want to track, profile, advertise, and sell

19   to. As LiveRamp describes its comprehensive consumer profile surveillance services which “[b]uild

20   360-degree view profiles” of Plaintiffs and Class members:

21           Through the process of centralizing data across systems and consolidating consumer
             profiles, [LiveRamp] offers a comprehensive view of every individual consumer . .
22           . . It enables you to merge identifiers like email addresses and phone numbers with
             behavioral, demographic, and transactional data to create a unified view of each
23           customer. 22
24   20
        LiveRamp Form 8-K, at 2 (Oct. 1, 2018) https://investors.liveramp.com/static-files/b4a7a41c-
     288e-4f42-99b6-7fcc1b0701f6 [https://perma.cc/B6HB-YZ7A].
25
     21
        Max Eddy, How Companies Turn Your Data Into Money, PC MAG (Oct. 10, 2018),
26   https://www.pcmag.com/news/how-companies-turn-your-data-into-money
     [https://perma.cc/2399-5464].
27   22
        What is Data Activation and How Does it Work?, LIVERAMP (Feb. 13, 2024),
     https://liveramp.com/blog/what-is-data-activation-and-how-does-it-work/
28   [https://perma.cc/YJ6N-EAUM].
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 1          55.     All of this is done without consumers’ consent or even awareness.
 2          56.     LiveRamp knows an enormous amount about consumers, but the average consumer
 3   knows nothing about LiveRamp. Consumers are therefore unaware of the extent to which the
 4   entirety of their online activities are subjected to pervasive, invasive and highly sophisticated
 5   tracking, profiling, and targeting as described herein. LiveRamp has accordingly been described as
 6   a “Privacy Death Star.” 23
 7          57.     LiveRamp’s business revolves around two principal services: “identity resolution”
 8   and the “Data Marketplace.” As noted above, “identity resolution” refers to the process of merging
 9   or “resolving” various distinct data points or “touchpoints” (an email address, a physical address,
10   and a mobile device ID, for example) into a comprehensive identity profile of a single consumer.
11   LiveRamp’s principal identity resolution product is the “RampID,” a persistent, “omnichannel”
12   identifier created by LiveRamp for individual persons and households. 24
13          58.     RampIDs are constructed both from online 25 data and, through an intermediate
14   identifier called the “AbiliTec ID,” offline 26 data or “offline PII.” 27 This “identity resolution”
15   23
        See Exposing the Hidden Data Ecosystem of the UK’s Most Trusted Charities, PROPRIVACY
     (Sept. 10, 2020), https://proprivacy.com/privacy-news/exposing-the-hidden-data-ecosystem-of-
16   the-uks-most-trusted-charities [https://perma.cc/HR44-GZR3 ] (“Data brokers like Oracle
     (BlueKai) and LiveRamp (formerly Axicom [sic]) have been described as Privacy Death Stars.
17   They probably know more than Google, Facebook, or any other single entity that gathers human-
     specific trackable intelligence. They are aggregators of data, not just online, but offline too.
18   Everything from credit card transactions to criminal records is gathered from thousands of partners
     in order to build detailed dossiers of as many citizens around the world as possible.”).
19
     24
        Identity and Identifier Terms and Concepts, LIVERAMP,
20   https://docs.liveramp.com/identity/en/identity-and-identifier-terms-and-concepts.html#rampid
     [https://perma.cc/43XQ-HGFQ]; Perform Identity Resolution in Snowflake, LIVERAMP,
21   https://docs.liveramp.com/identity/en/perform-identity-resolution-in-snowflake.html
     [https://perma.cc/9DXW-HQ75]; Authenticated Traffic Solution, LIVERAMP,
22   https://docs.liveramp.com/identity/en/authenticated-traffic-solution.html [https://perma.cc/DS3K-
     MGN6].
23   25
        LiveRamp defines the term “online identifiers” as follows: “Usually refers to device identifiers
     such as cookies and mobile device IDs. These identifiers are also referred to as ‘pseudonymous
24   identifiers.’” See Glossary of All Terms, LIVERAMP,
     https://docs.liveramp.com/connect/en/glossary-of-all-terms.html [https://perma.cc/SFV8-3X3H].
25
     26
        LiveRamp defines the term “offline identifiers” as follows: “Usually refers to PII identifiers
26   such as name and postal, email address, and hashed email address. These identifiers are also
     referred to as ‘known identifiers.’” Id.
27   27
        LiveRamp defines “PII” as “Personally identifiable information (such as name and postal,
     phone number, or email address) which, on its own or when combined with some other data, can
28   be used to identify an individual.” Id.
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 1   service allows LiveRamp to identify individuals and to aggregate their many identifiers, which in
 2   turn facilitates further synchronizing of personal information with a high degree of confidence.
 3   LiveRamp acknowledges that it creates:
 4          [A] robust identity framework within [its clients] data foundations to provide [them]
            with an accurate and comprehensive 360-degree view of [their] customers. Our
 5          solutions build a single source of truth about the customer, connecting offline and
            online data sources with a durable, deterministic person-based ID that never fades,
 6          even as cookies decay. 28
 7   This conduct—which is largely unknown to the public—violates Plaintiffs’ and Class members’
 8   reasonable expectation of privacy. As described in the press, “[t]ech companies have repeatedly
 9   reassured the public that trackers used to follow smartphone users through apps are anonymous or
10   at least pseudonymous, not directly identifying the person using the phone. But what they don’t
11   mention is that an entire overlooked industry exists to purposefully and explicitly shatter that
12   anonymity”—that is the “identity resolution” industry in which LiveRamp is the largest and most
13   significant actor. 29
14          59.     LiveRamp claims to have “resolved” the identities of more than 250 million
15   consumers in the United States (i.e., virtually every single adult) 30 “and many more worldwide” by
16   assigning them each a unique RampID. 31 LiveRamp can then connect names, postal addresses, email
17   addresses, phone numbers, cookies, mobile device IDs, connected TV device IDs, and custom
18   identifiers or CIDs—all manner of offline and online data—to a RampID. 32 For example, give
19   28
        Getting Started with LiveRamp Identity, LIVERAMP,
20   https://docs.liveramp.com/identity/en/getting-started-with-liveramp-identity.html (emphasis
     added) [https://perma.cc/L8V8-CA7W].
21   29
        Joseph Cox, Inside the Industry That Unmasks People at Scale, VICE (July 14, 2021)
     https://www.vice.com/en/article/epnmvz/industry-unmasks-at-scale-maid-to-pii
22   [https://perma.cc/D8UB-KXQ5].
     30
23      As of 2020, the total number of adults in the United States was 258.3 million. See U.S. Adult
     Population Grew Faster Than Nation’s Total Population from 2010 to 2020, UNITED STATES
24   CENSUS BUREAU (Aug. 12, 2021), https://www.census.gov/library/stories/2021/08/united-states-
     adult-population-grew-faster-than-nations-total-population-from-2010-to-2020.html
25   [https://perma.cc/S4PW-4HMG].
     31
        Solutions: Identity Resolution, LIVERAMP, https://liveramp.uk/identity-resolution/
26   [https://perma.cc/8PE5-W9VE]; see also Identity Resolution: What is it and Why is it Important,
     LIVERAMP (June 21, 2024), https://liveramp.com/identity-resolution/ [https://perma.cc/244V-
27   BCMB].
     32
28      Perform Identity Resolution in Snowflake, LIVERAMP,

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 1   LiveRamp the device ID of a smart or “connected” TV or any smartphone, and it knows (or claims
 2   to know) whom the device belongs to or who is using it. 33 The RampID is thus the equivalent of a
 3   permanent and inescapable personal identification number, which allows LiveRamp and its
 4   customers to surveil and manipulate specific individuals, with an incredibly high degree of precision,
 5   in perpetuity.
 6          60.       LiveRamp’s “Data Marketplace” provides a platform for hundreds of third-party
 7   data brokers to buy and sell vast repositories of detailed consumer information by “segments,” or
 8   groups of consumers defined by demographic information (quantitative data such as age, gender, or
 9   income) or “psychographic” information (qualitative data such as personality traits, attitudes,
10   interests, and values, including religion, political views, and sexual reproductive decisions).
11   LiveRamp, its data “partners,” and its customers deploy the consumer information bought on the
12   Data Marketplace to manipulate individual consumers by identifying them through the RampID
13   identity graph system or other identity data wherever they may be found, on- or offline.
14          61.       LiveRamp tracks the lives of the general public in a manner that is opaque, if not
15   invisible, to the people it follows, as they have no direct relationship with LiveRamp.
16          62.       LiveRamp does not even maintain a pretense of having directly obtained the consent
17   of the subjects of its surveillance—i.e., the proposed Classes herein—who have no legal or practical
18   ability to consent to LiveRamp’s conduct.
19

20

21

22

23

24   https://docs.liveramp.com/identity/en/perform-identity-resolution-in-snowflake.html
     [https://perma.cc/9DXW-HQ75].
25
     33
        Jeff Chester and Kathryn C. Montgomery, How TV Watches Us, Commercial Surveillance in
26   the Streaming Era, CENTER FOR DIGITAL DEMOCRACY, (Oct. 2024),
     https://democraticmedia.org/reports/how-tv-watches-us-commercial-surveillance-in-the-
27   streaming-era [https://perma.cc/2P3K-JX4L] (“LiveRamp . . . is a major player in the use of CTV
     data for its “RampID” system. As the company explains, its “people-based IDs” make it possible
28   to ‘link individuals and households to the right digital identifiers including cookies, mobile device
     IDs, Advanced TV IDs, and user accounts at social networks.’”).
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 1          63.     LiveRamp reaps great financial benefit from its conduct described herein; LiveRamp
 2   generates over half a billion dollars per year trafficking in personal information, 34 and its market
 3   capitalization exceeds $2.33 billion. 35
 4                   1.      LiveRamp Collects, Buys, and Analyzes Vast Amounts of Offline Data
                             to Construct Real-World Identity Profiles Using Its AbiliTec System.
 5
            64.     LiveRamp’s RampID identity graph system relies on its AbiliTec system, which first
 6
     assigns individuals an “AbiliTec ID” constructed of real-world “offline” identity information that is
 7
     then used to link their online activity with a RampID. AbiliTec links different offline identifiers
 8
     (e.g., email address, name, and postal address) to each other, allowing LiveRamp’s clients to
 9
     “resolve” this information “into a unified view of those consumers.” 36 AbiliTec combines
10
     “[c]ommon matching techniques”—such as “probabilistic matching, approximate string matching,
11
     and other typical matching approaches, such as edit distance routines to provide matches across
12
     names and addresses present within a client’s data”—with “comparison of customer data to a vast
13
     multi-sourced historical repository of consumer contact information” 37 to identify individual
14
     consumers and assign them each a single AbiliTec ID.
15
            65.     AbiliTec IDs are purportedly constructed from “a vast, multi-sourced historical
16
     identity graph containing over 40 years of consumer contact information from over 150 data sources,
17
     including over 4.5 billion name and postal records, over 1.1 billion email addresses, and over 600
18
     million phone numbers.” 38 AbiliTec’s “knowledge bases are sourced from hundreds of contributors
19
     34
        LiveRamp Announces Fourth Quarter and Fiscal Year Results, LIVERAMP (May 24, 2023),
20   https://investors.liveramp.com/news-releases/news-release-details/liveramp-announces-fourth-
     quarter-and-fiscal-year-results [https://perma.cc/GX4Q-F4NN] (2023 Fiscal Year report touts
21   $597 million in total revenue); LiveRamp Announces Fourth Quarter and Fiscal Year Results,
     LIVERAMP (May 22, 2024), https://investors.liveramp.com/news-releases/news-release-
22   details/liveramp-announces-fourth-quarter-and-fiscal-year-results-4 [https://perma.cc/CAA7-
     SAAS] (2024 Fiscal Year report touts $660 million in total revenue).
23
     35
        LiveRamp Holdings, Inc. (RAMP) Overview, STOCK ANALYSIS,
24   https://stockanalysis.com/stocks/ramp/ [https://perma.cc/9BUH-XPM3].
     36
        Offline Identity Resolution with AbiliTec, LIVERAMP,
25   https://docs.liveramp.com/identity/en/offline-identity-resolution-with-AbiliTec.html
     [https://perma.cc/TY85-52C4].
26
     37
        Understanding AbiliTec, LIVERAMP, https://docs.liveramp.com/identity/en/understanding-
27   AbiliTec.html [https://perma.cc/C7ND-Z6XE].
     38
        The AbiliTec Identity Graph, LIVERAMP, https://developers.liveramp.com/abilitec-api/docs/the-
28   abilitec-identity-graph-1 [https://perma.cc/L49H-9PEN].
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 1   and contain multiple name, address, and email representations for individuals, as well as the
 2   associative data to resolve the data points to an individual over time.” 39 “[S]ources included in the
 3   knowledge bases include . . . public record data[,] publically [sic] available data[, and] self-reported
 4   information.” 40 “LiveRamp purchases its email-to-postal address match data from various third-
 5   party providers.” 41
 6           66.      In addition to collecting and processing this extensive offline information about
 7   individual consumers, LiveRamp’s AbiliTec system also collects and processes “[c]onsumer
 8   associative data, such as gender or year of birth (used to build people and household formations)”;
 9   and “[i]nternal metadata, such as frequencies, classifications, and thresholds for making linking
10   decisions.” 42
11           67.      When LiveRamp’s clients send a piece of identifying information—such as a name,
12   postal address, email address or phone number—to LiveRamp, the AbiliTec system matches this
13   information to existing records and returns one or several AbiliTec IDs referring to an individual
14   consumer, a household, or a place/address. LiveRamp can then use these identifiers to join or match
15   scattered and fragmented personal information collected from a variety of different sources into a
16   single customer record.
17           68.      The AbiliTec ID technology follows people across time and space as they change
18   names (due to marriage, divorce, gender transition, or for other reasons) and residences. As
19   LiveRamp says, “people are dynamic: they move houses, change jobs, switch phones, share
20   computers, and upgrade their tech. In the U.S., in 2018 alone, there were 36 M residential moves, 4
21   M births, 2.2 M marriages, and almost 800 K divorces.” 43 LiveRamp’s AbiliTec system exists
22    39
         RampID Methodology, LIVERAMP, https://docs.liveramp.com/identity/en/rampid-
23    methodology.html#idm46463362786624 [https://perma.cc/8WFU-C2JA].
      40
         Id.; LiveRamp, Form 10-K (Mar. 31, 2021),
24    https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
      [https://perma.cc/KFM8-8KWQ].
25    41
         LiveRamp Match Data Sources, LIVERAMP, https://docs.liveramp.com/connect/en/liveramp-
26    match-data-sources.html [https://perma.cc/W7DC-5FTW].
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         Understanding AbiliTec, LIVERAMP, https://docs.liveramp.com/identity/en/understanding-
27    AbiliTec.html [https://perma.cc/C7ND-Z6XE].
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28       File Output Options for Measurement Enablement Workflows, LIVERAMP,

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 1   precisely to overcome this human dynamism through pervasive data collection and tracking. Over
 2   time, each of these events builds a more complete picture of that person’s identity.
 3          69.     LiveRamp zealously describes the scope of its surveillance, touting its ability to
 4   connect real-world people instantaneously and persistently with both offline and online identifiers,
 5   “with a high degree of speed and accuracy”:
 6           Our proprietary, patented recognition technology draws upon an extensive historical
             reference base to identify and link together multiple consumer records and
 7           identifiers. We use the pioneering algorithms of AbiliTec® and deterministic digital
             matching to link individuals and households to the right digital identifiers including
 8           cookies, mobile device IDs, Advanced TV IDs, and user accounts at social networks.
             As a result, we are able to match online and offline data with a high degree of speed
 9           and accuracy. 44
10                   2.     LiveRamp Collects, Buys, and Analyzes Vast Amounts of Online Data
                            to Track Real-World Consumers’ Digital Activities Using the RampID
11                          Identity Graph System.
12          70.     LiveRamp’s RampID identity graph system builds on its AbiliTec ID system, by
13   expanding the scope of identifying information gathered and processed by LiveRamp into the digital
14   space, allowing its clients to connect individual consumers’ offline personal information with their
15   online activities. LiveRamp refers to its AbiliTec system as an “offline identity graph,” and to its
16   RampID system as its “online identity graph.” 45
17          71.     The first step in the construction of a “maintained” RampID—or a RampID
18   “representing an individual that LiveRamp fully recognizes” and can match to a complete set of that
19   individual’s personal information 46 —is to assign a “derived” RampID to a single personal
20

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22   https://docs.liveramp.com/safe-haven/en/file-output-options-for-measurement-enablement-
     workflows.html#why-records-might-have-multiple-rampids-70-19340 [https://perma.cc/99SY-
23   X4C3].
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        LiveRamp, Form 10-K (Mar. 31, 2021),
24   https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
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        LiveRamp Data Security Overview, LIVERAMP,
26   https://docs.liveramp.com/connect/en/liveramp-data-security-overview.html
     [https://perma.cc/V8C5-PH5Q].
27   46
        Interpreting RampID, LiveRamp’s People-Based Identifier, LIVERAMP,
     https://docs.liveramp.com/identity/en/interpreting-rampid,-liveramp-s-people-based-
28   identifier.html#idm46463362751232 [https://perma.cc/B2BE-4L8S].
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 1   information “touchpoint”: an email address, for example. 47 The touchpoint(s) are then associated
 2   with as many other “offline” personal information touchpoints as possible using its AbiliTec
 3   system. 48 Once sufficient touchpoints have been associated with one another a sufficient number of
 4   times, LiveRamp will merge the disparately derived RampIDs attached to each piece of personal
 5   information into one “maintained” RampID, to whom all these pieces of information (are thought
 6   to) belong. 49 In this way, LiveRamp creates the equivalent of a permanent “Internet Social Security
 7   Number” that is accurately and inescapably associated with virtually every adult in the United States.
 8          72.     The RampIDs are then, with the help of data provided by a large network of
 9   “partners,” connected to various online identifiers such as “partner-specific cookies, mobile IDs,
10   and other online IDs.” 50 The list of online identifiers LiveRamp admits to maintaining on one
11   consumer stretches ten pages, including custom IDs, cookie IDs, and mobile device IDs as well as
12   the census block groups the IDs are typically located in, IP addresses, connected TV IDs, browser
13   used, ISP used, brand properties visited, estimated minimum visit durations at these properties, and
14   dimensions of the user’s screen that can be used in connection with other data to uniquely fingerprint
15   the user. 51 The scale of LiveRamp’s surveillance is staggering. Indeed, immediately after the spinoff
16   from Acxiom in 2018, LiveRamp’s CEO was explicit that LiveRamp’s business model is to place
17   every person in the world under constant surveillance by connecting every person’s identity to all
18   available information about them, from any source: “What LiveRamp has done is, they’ve gone and
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22   47
        Id.; Touchpoints, LIVERAMP, https://docs.liveramp.com/connect/en/touchpoints.html
     [https://perma.cc/D6BT-ABHP].
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     48
        RampID Methodology, LIVERAMP, https://docs.liveramp.com/identity/en/rampid-
24   methodology.html#idm46463362804192 [https://perma.cc/6NK4-RGFY].
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        Interpreting RampID, LiveRamp’s People-Based Identifier, LIVERAMP,
25   https://docs.liveramp.com/identity/en/interpreting-rampid,-liveramp-s-people-based-
     identifier.html#idm46463362751232 [https://perma.cc/B2BE-4L8S].
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     50
        Getting Started with Activation, LIVERAMP, https://docs.liveramp.com/connect/en/onboarding-
27   your-data.html#overall-onboarding-steps [https://perma.cc/NS52-GCUC].
     51
        See Data Subject Access Request Explanatory Information Document Consumer Data at 8,
28   version 3.2, LIVERAMP (May 31, 2024).
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 1   integrated all of the world’s data providers, linked that data to all of the world’s people, and then in
 2   turn, link that to buil[d] connections to all of the world’s use cases.” 52
 3           73.     Just as LiveRamp’s AbiliTec system depends on the collection of vast amounts of
 4   offline personal information, the operation of LiveRamp’s RampID identity graph system depends
 5   on the collection of vast amounts of online personal information about as many people as possible.
 6   LiveRamp uses multiple means to collect and process this data, including its own suite of internet
 7   technologies, as well as from its acquisition of data from its “partners,” as described below. On
 8   information and belief, LiveRamp’s data collection mechanisms described as follows are present on
 9   at least tens of thousands of websites.
10           74.     Cookies. As web browsers do not provide their own unique identifiers that
11   consistently refer to their users, data brokers like LiveRamp use “cookies” or other similar browser
12   storage mechanisms like “localStorage” 53 to create unique online personal identifiers, or “cookie
13   IDs,” for the users of browsers. Many websites embed software from third-party companies that
14   store cookie IDs in the user’s browser, which they can retrieve during subsequent visits to these
15   websites. As such, third-party companies can recognize website visitors when they return to these
16   websites at a later point in time.
17           75.     When third-party companies want to exchange personal information about the
18   behaviors or characteristics of website visitors among each other, they must ensure they are
19   referencing the same users. For this purpose, they map cookie IDs maintained by one third-party
20   company to cookie IDs maintained by another third-party company. This process, which involves
21   the exchange of cookie IDs between these third-party companies, is often referred to as “cookie
22   syncing” or “ID syncing.” As a result, third-party companies can persistently identify users of web
23   browsers and thus recognize, track, follow, profile, and target people across companies and websites.
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      52
         Robert Andrews, After IPG Sale, Acxiom’s LiveRamp is Now ‘Neutral’: CEO Howe, BEET.TV
27    (OCT. 1, 2018), https://www.beet.tv/2018/10/acxiom-scott-howe.html (emphasis added).
      53
28       Other Use Cases for Retrieving Envelopes, LIVERAMP, https://docs.liveramp.com/privacy-
      manager/en/other-use-cases-for-retrieving-envelopes.html [https://perma.cc/JV2C-V546].
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 1          76.     LiveRamp deploys its own proprietary cookies across numerous websites, and it also
 2   collects cookie IDs from “400+” other companies, 54 including Google, Facebook, Amazon,
 3   Microsoft, Salesforce, Oracle, Neustar, Nielsen, The Trade Desk, and Quantcast. 55 LiveRamp can
 4   then synchronize all of those cookie IDs to match a particular cookie ID not only to “other partner
 5   cookies,” but also to “mobile devices, proprietary platform IDs, and RampIDs.” 56 This cookie
 6   syncing process involves the constant exchange of personal information across many companies at
 7   a massive scale.
 8          77.     Web Match Tags. LiveRamp’s “Web Match Tags” allow it to establish links between
 9   consumers’ email addresses and cookie IDs. LiveRamp’s “match partners,” who are part of its
10   “match network,” add LiveRamp’s Web Match Tag “to all website pages where a user’s email
11   addresses can be populated,” for example, on “post-registration pages,” “post-login pages,”
12   “returning-user pages” and “landing page(s) associated with any links in your email newsletters.” 57
13   As soon as a match partner has access to a user’s email address—for example, because the user just
14   registered an account—the Web Match Tag sends the hashed email address, i.e., sends an email
15   identifier derived from the user’s email address, and LiveRamp’s cookie ID to LiveRamp.
16   LiveRamp can then create a new link between an email address and a cookie ID in its identity graph.
17   LiveRamp uses similar technologies to create links between email addresses and mobile device
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     54
22      How LiveRamp Addresses Fragmented People-Based Links, LIVERAMP,
     https://docs.liveramp.com/connect/en/how-liveramp-addresses-fragmented-people-based-
23   links.html [https://perma.cc/S4HA-645P].
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        Request a Reach Estimate, LIVERAMP, https://docs.liveramp.com/safe-haven/en/request-a-
24   reach-estimate.html [https://perma.cc/2QHK-2B95]; Match, OIDL & ATS Partners, LIVERAMP,
     https://web.archive.org/web/20220523082051/https://liveramp.fr/partenaires/
25   [https://perma.cc/VP59-YCH4].
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26      Identity Translation, LIVERAMP, https://docs.liveramp.com/identity/en/identity-translation.html
     [https://perma.cc/9BLU-KT97].
27   57
        For Match Partners: Implementing LiveRamps’s Web Match Tag, LIVERAMP,
     https://docs.liveramp.com/connect/en/for-match-partners--implementing-liveramp-s-web-match-
28   tag.html [https://perma.cc/KE48-6JTW].
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 1   IDs, 58 and between email addresses and custom IDs 59 (which are “account-based” user IDs
 2   “assigned to users by a specific platform, such as Google or Facebook”). 60
 3          78.     Client-Side Tags. LiveRamp deploys “Client-Side Tags” and “Enhanced Client-Side
 4   Tags” on websites to gather data on consumers’ online activities. LiveRamp’s Client-Side Tags are
 5   deployed via “tracking pixels”—surreptitious online tracking mechanisms, sometimes also called
 6   “spy pixels” 61—and automatically “capture,” or intercept, the URLs of the web pages visited, the
 7   exact date and time of the visit, and a variety of other information such as “page views,” “ad views,
 8   adding items to cart, or completing a transaction.” 62 This captured data then goes through
 9   LiveRamp’s recognition process to match the website visitors to their specific RampIDs.
10          79.     Authenticated Traffic Solutions (ATS) JavaScript Code and Software Development
11   Kit (SDK). LiveRamp’s “ATS.js” JavaScript Code, implemented through its Enhanced Client-Side
12   Tags, intercepts personal information, such as email addresses and phone numbers, communicated
13   by Class members to websites, and uses that information to create a universal identifier that is
14   unambiguously linked to a specific person for targeting and manipulation by LiveRamp’s clients.
15   The ATS.js JavaScript code uses so-called “event listeners” to detect specific types of contents of
16   communications from class members to websites and intercept those contents and simultaneously
17   transmit them to LiveRamp. “Event listeners” are portions of the JavaScript code that “listen” for
18
     58
        For Match Partners: Uploading Mobile App Files, LIVERAMP,
19   https://docs.liveramp.com/connect/en/for-match-partners--uploading-mobile-app-files.html
     [https://perma.cc/KE48-6JTW].
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     59
        Website Data Monetization Through Customer ID Matching, LIVERAMP,
21   https://docs.liveramp.com/connect/en/website-data-monetization-through-customer-id-
     matching.html [https://perma.cc/9RLV-UWCZ].
22   60
        Identity and Identifier Terms and Concepts, LIVERAMP,
     https://docs.liveramp.com/connect/en/identity-and-identifier-terms-and-concepts.html
23   [https://perma.cc/43XQ-HGFQ].
     61
24      WIKIPEDIA, Spy Pixel, https://en.wikipedia.org/wiki/Spy_pixel [https://perma.cc/3XE7-QXKZ].
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        LiveRamp’s Client-Side Tags, LIVERAMP, https://docs.liveramp.com/identity/en/implementing-
25   liveramp-s-client-side-tag.html [https://perma.cc/C79J-5BXD]; Implementation Methods for
     Client-Side Tags, LIVERAMP, https://docs.liveramp.com/identity/en/implementation-methods-for-
26   client-side-tags.html [https://perma.cc/S9CC-SEZ4]; Data Automatically Captured for Client-
     Side Tags, LIVERAMP, https://docs.liveramp.com/identity/en/data-automatically-captured-for-
27   client-side-tags.html [https://perma.cc/LA5R-FPDA]; Placing Client-Side Tags in
     Advertisements, LIVERAMP, https://docs.liveramp.com/identity/en/placing-client-side-tags-in-
28   advertisements.html [https://perma.cc/8JZH-TQ8D].
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 1   certain input actions by the internet user—such as “mouse clicks, keyboard presses, and scrolling,”
 2   and record them in specific ways. 63 Specifically, once ATS.js has been deployed on a website or in
 3   an app, ATS.js listens for and intercepts email addresses and phone numbers communicated to that
 4   website or app. Event listeners intercept communications while in transit, once user inputs are made
 5   but before the communications are received by the webpage. LiveRamp’s “ATS Mobile SDK” (or
 6   Software Development Kit) includes largely identical functionality that is deployed on mobile
 7   devices. LiveRamp touts the extreme ubiquity of its ATS trackers to its investors; LiveRamp states
 8   that “ATS has been adopted by over 21,000 publisher domains and 75% of the comScore 100
 9   publishers . . . . Through these integrations, LiveRamp connects to over 92% of US consumer time
10   spent online.” 64
11           80.     In sum, at the end of the “identity resolution” process, by using the RampID identity
12   graph system, LiveRamp can take any item of real-world personal information (postal address, for
13   example) and link that item to any number of online identifiers (Facebook IDs, for example) across
14   the Internet. This allows thousands of companies to send names, postal addresses, or email addresses
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26    63
         Event Listeners in JavaScript: The Ultimate Guide, COD;NN,
      https://www.codinn.dev/javascript/event-listeners [https://perma.cc/5MTQ-43AF].
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      64
         LiveRamp Announces Fourth Quarter and Fiscal Year Results, LIVERAMP (May 22, 2024),
28    https://investors.liveramp.com/news-releases/news-release-details/liveramp-announces-fourth-
      quarter-and-fiscal-year-results-4 [https://perma.cc/YWS9-PS82] (emphasis added).
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 1   to LiveRamp, receive the corresponding RampIDs, and then match them with online identifiers that
 2   are also linked to RampIDs from many other companies, as shown in the image below: 65
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            81.     As people move from one website, mobile app, or other digital product or service to
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     the next (potentially using different emails, passwords, usernames, and devices to do so), they
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     reasonably expect activity in one digital “silo” to be kept in that silo. Plaintiffs and Class members
17
     have no expectation that companies like LiveRamp sit behind those identifiers diligently and
18
     constantly working to match them to real-world personal information and “resolve” them to
19
     individual persons.
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            82.     As explained below, LiveRamp monetizes this mass surveillance and tracking by
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     means of “Data Onboarding,” LiveRamp’s “Authenticated Traffic Solution,” the Data Marketplace,
22
     and related services.
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27   65
       Illustration of AbiliTec ID/Ramp ID System. LiveRamp Presentation, The Future of
     Addressability, at 10, (2022), https://files.ctctusercontent.com/75d73837001/e8858146-a9f4-
28   4518-9bc1-b355b98065f3.pdf [https://perma.cc/4MF7-LC4E].
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 1           B.      Through “Data Onboarding,” and Identity Resolution, LiveRamp and
                     Its Customers Target Class Members Wherever They Are in the Digital
 2                   and Physical Worlds.
 3          83.     “Data onboarding” or “Activation” is “the process of connecting your customer data

 4   to the digital marketing applications and media platforms that you work with.” 66 For example,

 5   consider a business with a customer file (often called a “CRM” or customer relationship

 6   management information) it wishes to use to target digital advertising to its customers outside its

 7   (digital or physical) property. The business’s customer files contains its customers’ personal

 8   information, such as names and email addresses, as well as segment data (or “group[s] of your

 9   records that are defined by a specific attribute”), 67 such as gender. The business uploads its customer

10   file to LiveRamp and specifies a desired platform or “destination” for its advertising, such as

11   Facebook.

12          84.     LiveRamp, through its identity resolution services, matches this personal information

13   to a RampID. The customers’ RampIDs are then matched to destination-specific identifiers such as

14   cookies, mobile IDs, and custom IDs or “CIDs” such as, in this example, FacebookIDs, using

15   LiveRamp’s online Match Network. LiveRamp delivers the customer file (whose personal

16   information has now been translated into destination-specific identifiers) to the destination, where

17   the business uses its delivered segments to target advertising through the tools and UI provided by

18   the destination. LiveRamp counts more than 500 advertiser destinations, which it collects in a public

19   directory, 68 and offers to add more “on request.” 69

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     66
        Activation Intro Video Series, LIVERAMP (first video, start at 00:35 seconds),
24   https://docs.liveramp.com/connect/en/activation-intro-video-series.html [https://perma.cc/82XC-
     CQ3P].
25   67
        Activation Terms and Concepts, LIVERAMP, https://docs.liveramp.com/connect/en/activation-
     terms-and-concepts.html [https://perma.cc/XJ8C-RV7M].
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        LiveRamp Partner Ecosystem, LIVERAMP, https://partner-directory.liveramp.com/
27   [https://perma.cc/E4CC-UXY2].
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        Getting Started with Activation, LIVERAMP, https://docs.liveramp.com/connect/en/onboarding-
28   your-data.html#overall-onboarding-steps [https://perma.cc/NS52-GCUC].
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 1          85.    LiveRamp has 825 direct clients and thousands of indirect ones. Most are large
 2   players in the data and AdTech industry, who themselves process personal information on behalf of
 3   “myriad web and app publishers, advertisers and other businesses.” 70
 4          86.    LiveRamp is ubiquitous on the web and operates in tandem with the largest internet
 5   technology companies involved in surveilling and extracting data from internet users. For example,
 6   one study found that 96 percent of Facebook users had information about them shared by LiveRamp
 7   with Facebook. 71 LiveRamp markets its ability to share data and combine data with Facebook to
 8   “complete the 360-degree view of the consumer”—including minute details such as whether the
 9   person is married or engaged, whether they are a renter, whether they make more than $100,000 a
10   year, the year and make of the car they drive, whether they have children, and even their preferred
11   brand of toothpaste—via the following graphic: 72
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        Wolfie Christl and Alan Toner, Pervasive identify surveillance for marketing purposes,
24   CRACKED LABS (Feb. 2024),
     https://crackedlabs.org/dl/CrackedLabs_IdentitySurveillance_LiveRamp.pdf
25   [https://perma.cc/E4C6-27BA].
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26      Jon Keegan, Each Facebook User is Monitored by Thousands of Companies, THE MARKUP
     (June 8, 2023) https://themarkup.org/privacy/2024/01/17/each-facebook-user-is-monitored-by-
27   thousands-of-companies-study-indicates [https://perma.cc/S66F-M5AT].
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        LiveRamp, Using Third-Party Data With Facebook Campaigns | LiveRamp, YOUTUBE (Feb.
28   26, 2020), https://www.youtube.com/watch?v=ik1SgiNdRu0 [https://perma.cc/D99S-SBVS].
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 1          87.       Data onboarding and identity resolution allows LiveRamp and its clients to conduct
 2   a covert but omnipresent campaign against consumers’ agency and autonomy by saturating their
 3   immediate digital and even physical environments in targeted, tailored messages—without
 4   consumers even knowing this is happening. For example, one LiveRamp brochure 73 offers the
 5   following examples of “sweet” use cases for identity resolution, facilitated through data onboarding:
 6                •   A cable TV network tying viewers to car lease expiration dates, to allow ad
                      buyers to target individual viewers whose leases are soon expiring with car
 7                    ads.
                  •   A retailer tracking which emails from other retailers prospective customers
 8                    open, and using the results to target prospective customers through their own
                      emails as well as tracking in-store sales.
 9
                  •   A retailer targeting “high value” shoppers with physical digital billboards
10                    based on their location data; in other words, showing ads on a physical
                      billboard that are tailored and targeted to one specific person based on that
11                    person’s proximity to the billboard.
                  •   A retailer using in-store electronic “beacons” to determine when their
12                    customers were browsing in the store and serve them targeted advertising
                      based on their real-time physical locations within the stores. 74
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14          88.       These examples, drawn from LiveRamp’s own marketing materials, vividly illustrate

15   LiveRamp’s endeavor to remove all digital and physical boundaries separating its clients from Class

16   members, and describes the extent to which LiveRamp openly advertises its ability to facilitate the

17   tracking of every aspect of a consumer’s online and offline activities, including tracking their web

18   browsing activity, TV viewing habits, real-time physical location, and in-store purchases.

19           C.       Through “Authenticated Traffic Solutions” or “ATS,” LiveRamp
                      Enables Privacy-Invasive “Real-Time Bidding” Based on Class
20                    Members’ Real-World Identities.

21          89.       LiveRamp’s “Authenticated Traffic Solutions” or “ATS” business—based on the

22   ATS.js JavaScript mechanism described above—likewise monetizes the RampID identity profiles

23

24
     73
        13 Sweet Identity Resolution Use Cases, LIVERAMP, https://lp.liveramp.com/rs/320-CHP-
25   056/images/LiveRamp%20UK%20-
     %2013%20Sweet%20identity%20resolution%20use%20cases.pdf [https://perma.cc/K76Q-
26   D3U7].
     74
        LiveRamp, IdeaBook 300 Ways To Do People-Based-Marketing,
27   https://02f0a56ef46d93f03c90-
     22ac5f107621879d5667e0d7ed595bdb.ssl.cf2.rackcdn.com/sites/10980/uploads/23548/ideabook-
28   201820180528-1031-xtba2a.pdf [https://perma.cc/MNY4-G26Y].
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 1   by allowing LiveRamp clients to deploy them against consumers wherever they may be at the
 2   moment.
 3          90.     ATS functions by converting the email addresses and phone numbers Class members
 4   use to log in to websites into RampIDs connected to LiveRamp’s identity profiles. When a user
 5   provides “their identifier on your website” (an email address, for example), “ATS obtains the
 6   configuration and transforms it into an encrypted identity envelope containing LiveRamp’s
 7   pseudonymous identifier, RampID.” 75 That RampID can then be used to identify that Class member
 8   and target them in real time through the “Real-Time Bidding” advertising ecosystem. 76
 9          91.     Real-Time Bidding is the instantaneous auction system which underlies a significant
10   amount of online advertising. It is widely viewed as privacy invasive:
11           What is Real Time Bidding? It’s the biggest illegal data breach ever recorded, for a
             start. The private things you do and watch online are collected from a vast system
12
             that operates behind the scenes on virtually every website and app. This allows ‘data
13           broker’ companies to collate your data – including your sexuality, your medical
             conditions, your location – to form highly sensitive personal profiles about you. The
14           data breach occurs in online advertising’s Real-Time Bidding (RTB) system,
             hundreds of billions of times daily. This is the biggest data breach the world has
15           ever seen. 77
16
            92.     In other words, ATS allows publishers, advertisers, and other companies involved in
17
     Real-Time Bidding to utilize the real-world identities of internet users—based on their own email
18
     addresses—and track and manipulate them accordingly. Once these email addresses and phone
19
     numbers have been intercepted, they are used to associate that web browsing instance with the
20
     identity profile it maintains on that person. That profile is then made available to third parties
21

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     75
        Authenticated Traffic Solution, LIVERAMP, https://docs.liveramp.com/connect/en/authenticated-
26   traffic-solution.html [https://perma.cc/A9ED-55WE].
     76
27      See What is Real Time Bidding?, IRISH COUNSEL FOR CIVIL LIBERTIES,
     https://www.iccl.ie/what-is-real-time-bidding/ [https://perma.cc/MRY5-95F4].
28   77
        Id.
                                                                      FIRST AMENDED CLASS ACTION COMPLAINT
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 1   through the Real-Time Bidding advertising ecosystem. 78 This enables many different actors “across
 2   the open web to know that they are “talking” about the same persons. 79
 3           93.     Plaintiffs and Class members do not, by virtue of simply signing in to online services
 4   that they use throughout the course of their daily lives, consent to the creation of an unavoidable and
 5   permanent internet identification number that follows them throughout their lives and that can be
 6   used by commercial or political actors to surveil and manipulate them.
 7            D.      Through Its Data Marketplace, LiveRamp Facilitates the Sale of Vast
                      Amounts of Sensitive Personal Information About Consumers and
 8                    Facilitates the Construction of Detailed Consumer Profiles.
 9           94.     LiveRamp’s identity profiles and their uses as described above, standing alone,
10   violate Plaintiffs’ privacy rights. However, LiveRamp further invades Plaintiffs’ privacy through
11   the purchase and sale of highly detailed personal information about Plaintiffs and Class members on
12   its Data Marketplace.
13           95.     LiveRamp’s Data Marketplace is an online market trading in the sensitive and private
14   personal information of hundreds of millions of people. LiveRamp describes this massive,
15   international personal information bazaar as making available to participants “multi-sourced insight
16   into approximately 700 million consumers worldwide.” 80
17           96.     LiveRamp’s Data Marketplace “allows data buyers to gain access to third-party data
18   from over 160 top data sellers, each offering a wide range of segment types, including behavioral,
19   geographic, demographic, and more.” 81 LiveRamp’s Data Marketplace vendors are collected in a
20   public directory. 82
21
      78
         Wolfie Christl and Alan Toner, Pervasive identity surveillance for marketing purposes, at 53
22    CRACKED LABS (Feb. 2024),
      https://crackedlabs.org/dl/CrackedLabs_IdentitySurveillance_LiveRamp.pdf
23    [https://perma.cc/E4C6-27BA].
      79
24       Id.
      80
         LiveRamp, Form 10-K (Mar. 31, 2021),
25    https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
      [https://perma.cc/KFM8-8KWQ].
26
      81
         Getting Started with Data Buying, LIVERAMP, https://docs.liveramp.com/connect/en/getting-
27    started-with-data-buying.html [https://perma.cc/H48Y-WS7J].
      82
         LiveRamp, Data Marketplace Data Provider Directory, (May 2023),
28    https://view.highspot.com/viewer/6466ab9408ad6e9290593413 [https://perma.cc/A93G-GWCA].
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 1          97.     As recently reported, LiveRamp’s clients bought and sold “segments” of digital
 2   identifiers associated with people with cancer, union members, Muslims, Jewish people, African
 3   Americans, poor people, payday loan prospects, online gamblers, unemployed individuals who were
 4   “seen at clinics/hospitals” and users of the LGBT dating app Grindr. 83
 5          98.     LiveRamp’s Data Marketplace is filled with segments containing highly intimate,
 6   sensitive, and intrusive information about Plaintiffs and Class Members. For example, the following
 7   segments are or were available through the LiveRamp Data Marketplace:
 8                   a.     Examples of Medical Segments:
 9                          •   Quotient Technology > Family Planning > Male/female Contraceptive
                                > Condom > Church & Dwight Condom Buyer (Row 564673) 84
10
                            •   Clickagy > Health > Addictions > Drugs (Row 356609)
11
                            •   Clickagy > Health > Addictions > Sex (Row 219275)
12                          •   Clickagy > Partners > Engine Group > Healthcare/Lifestyle > Cancer
                                Sufferers/Information Seekers (Row 460467)
13
                            •   Clickagy > Demographics > Presence of Children > Pregnant (Prenatal)
14                              (Row 219146)
15                          •   Audience Now by Fluent > Health > Visit Doctor Often (Row 411150)

16                          •   Lifescript > Declared Health Interest > Urinary & Bowel (Row
                                121858)
17
                            •   Kantar > US > Health and Wellness > Conditions and Treatments >
18                              Fibromyalgia (Row 510394)

19                   b.     Examples of Financial Segments:
                            • NinthDecimal > Amnet > BlueCross > People seen at Clinics/Hospitals
20
                               who are Unemployed – Precise (Row 217353)
21                          •   TransUnion > Consumer Finance > Credit Behavior > Target by
                                Transactor or Revolver Card Behavior > Average Consumer Doesnt
22

23
     83
24      Jon Keegan and Joel Eastwood, From “Heavy Purchasers” of Pregnancy Tests to the
     Depression-Prone: We Found 650,000 Ways Advertisers Label You, THE MARKUP (June 8, 2023),
25   https://themarkup.org/privacy/2023/06/08/from-heavy-purchasers-of-pregnancy-tests-to-the-
     depression-prone-we-found-650000-ways-advertisers-label-you [https://perma.cc/MUG2-N38J].
26   The Xandr spreadsheet file is available at:
     https://web.archive.org/web/20230525225541mp_/https://xandr-be-
27   prod.zoominsoftware.io/bundle/monetize_monetize-standard/page/attachments/data-marketplace-
     buyer-overview/data_marketplace_public_segments_pricing_05212021.xlsx.
28   84
        Row citations are to the Xandr spreadsheet file, supra.
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 1                        Pay the Full Balance on One or More Credit Cards (Revolver Behavior)
                          (Row 189081)
 2
                      •   Powerlytics Stirista Fusion > Income Changes > Household Income 3
 3                        Year Percent Change > Household Income Decrease 20-25% in the
                          Last 3 Years (Row 572156)
 4
                      •   Stirista > Consumer > White-Collar Working Class > Low Income
 5                        (Row 136175)
 6                    •   Datastream Group > Payday Flag > Consumer has Requested a Payday
                          Loan (Row 134280)
 7
                      •   Cross Pixel > Audience portraits > Finance > Low Credit Scores (Row
 8                        363466)

 9                    •   Clickagy > Partners > Engine Group > Sociodemographics > Gamblers
                          (Row 460474)
10
                      •   Audience Now by Fluent > Health > Health Insurance > Uninsured
11                        (Row 367564)

12               c.   Examples of Race/Ethnicity Segments:
                      • Stirista > Consumer > Race > African-American (Row 364042)
13
                      •   PlaceIQ > Demographic > Race > Hispanic (Row 445612)
14
                      •   Stirista > Voter > Ethnicity > Bosnian Muslim (Row 159730)
15
                 d.   Examples of Political Segments:
16
                      • Infogroup > B2C > Politics > Voter Segment > Gen X > Conservative
17                       Voters – Co-op Sourced (Row 132803)
                      •   L2 Voter Data > Lifestyle & Issue Data > HaystaqDNA > Abortion >
18
                          Pro > Choice (Row 557936)
19                    •   Infogroup > Consumer > US Politics > Issues & Advocacy > Muslim
                          Ban – Support (Row 518244)
20
                      •   Alliant > Interest Propensities > Issues & Causes > Gun Rights (Row
21                        373412)
22                    •   Infogroup > B2C > Politics > Issues > Domestic > Same-Sex Marriage
                          > Opponents – Co-op Sourced (Row 160249)
23
                      •   Infogroup > B2C > Politics > Issues > Social > Transgender Bathroom
24                        Rights > Opponents – Co-op Sourced (Row 154522)
25               e.   Examples of Personal/Family Segments:
26                    • Lifescript > Declared Family > Parents of Teenagers (Row 121831)

27                    •   Lifescript > Declared Family > New Moms_07 (Row 122994)
                      •   PushSpring > Custom > Xaxis LA > Xaxis LA: Nature Made:
28                        Pregnancy Location and Action - Cross Device (Row 538932)
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 1                           •   Twine > Mobile Apps > Top Mobile Apps > Grindr - Gay chat (Row
                                 349938)
 2

 3                    f.     Examples of Religion-Based Segments:
                             • Infogroup > Consumer > US Politics > Demographics > Religion >
 4                              Jewish (Row 518048)
 5                           •   American Student Marketing > Religious Affiliation > Islam/Muslim
                                 (Row 164263)
 6
                             •   Infogroup > Consumer > US Politics > Demographics > Religion >
 7                               Protestant (Row 518142)

 8                           •   Infogroup > Consumer > US Politics > Issues & Advocacy > Religion--
                                 Attends Church Frequently (Row 518144)
 9
                             •   Infogroup > Consumer > US Politics > Demographics > Religion >
10                               Catholic (Row 518248)
                             •   180byTWO > Mobile > B2C > Religion > Sikh (Row 135185)
11

12           99.     The Data Marketplace allows sellers to sell data on Class members with apparently

13   minimal review that consists only of an unspecified “privacy review and approval” which “usually

14   takes 1-2 days.” 85

15           100.    LiveRamp claims to prohibit putting certain sensitive segment data up for sale on the

16   Marketplace, 86 but it is impossible to tell whether and how LiveRamp enforces these restrictions.

17   For example, the policy claims to prohibit segments “relating to” “reproductive health and rights,

18   pregnancy, and fertility,” 87 but in reality vast amounts of records are for sale on the Marketplace

19   that target pregnancy and interest in pregnancy. 88 LiveRamp’s publicly-available technical

20   documentation blurs out any information about the segments actually being bought and sold on the

21   Marketplace, making it impossible for Plaintiffs to directly assess the full scope of data available. 89

22    85
         Getting Started with Data Selling, LIVERAMP, https://docs.liveramp.com/connect/en/getting-
23    started-with-data-selling.html [https://perma.cc/8LCH-KY34].
      86
         LiveRamp’s Data Marketplace Data Policy, LIVERAMP,
24    https://docs.liveramp.com/connect/en/liveramp-s-data-marketplace-data-policy.html
      [https://perma.cc/VQZ7-6B3B].
25    87
         Id.
26    88
         Shoshana Wodinsky and Kyle Barr, These Companies Know When You’re Pregnant—And
      They’re Not Keeping It Secret, GIZMODO (July 30, 2022), https://gizmodo.com/data-brokers-
27    selling-pregnancy-roe-v-wade-abortion-1849148426 [https://perma.cc/FYW2-UL7B].
      89
28       See, e.g., Buying Segment Data from the Data Marketplace, LIVERAMP,

                                                                        FIRST AMENDED CLASS ACTION COMPLAINT
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 1           101.    Notably, even within LiveRamp’s own marketing materials, Data Marketplace
 2   vendors advertise the sale of sensitive data that LiveRamp claims to prohibit. For example, Fyllo,
 3   “the world’s largest ecosystem of cannabis and CBD purchase data,” makes available for sale on
 4   LiveRamp’s Data Marketplace “millions of consumer profiles across hundreds of traditional
 5   categories [s]ourced from offline, PII-based cannabis- and CBD transaction data.” 90 This is despite
 6   LiveRamp’s supposed prohibition on the sale of segments targeting marijuana or THC users. 91
 7           102.    The more than 160 data brokers doing business on the Marketplace 92 themselves may
 8   aggregate their data from dozens or hundreds of other sources, and the scope of their reach can be
 9   staggering. One of the best known, TransUnion, offers datasets drawn from “34 million unique
10   businesses from over 120 public and private data sources linked to individuals,” including
11   “[c]onsumer finance audiences . . . anchored in offline financial and insurance information.” 93 Credit
12   reporting agency Experian offers for sale “[t]housands of attributes on more than 300 million
13   consumers and 126 million households . . . from various sources including public records, census
14   data, purchase/transactional data, etc.” 94
15           103.    In June 2023, The Markup, a nonprofit digital newsroom focused on technology and
16   privacy, analyzed a spreadsheet of 650,000 audience segments found on the website of Microsoft’s
17

18

19

20

21    https://docs.liveramp.com/connect/en/buying-segment-data-from-the-data-marketplace.html
      [https://perma.cc/F3AL-JA58].
22    90
         LiveRamp, Data Marketplace Data Provider Directory, at slide 83 (May 2023),
      https://view.highspot.com/viewer/6466ab9408ad6e9290593413 [https://perma.cc/A93G-GWCA].
23
      91
         LiveRamp’s Data Marketplace Data Policy, LIVERAMP,
24    https://docs.liveramp.com/connect/en/liveramp-s-data-marketplace-data-policy.html
      [https://perma.cc/VQZ7-6B3B].
25    92
         Getting Started with Data Buying, LIVERAMP, https://docs.liveramp.com/connect/en/getting-
      started-with-data-buying.html [https://perma.cc/H48Y-WS7J].
26
      93
         LiveRamp, Data Marketplace Data Provider Directory, at slide 181 (May 2023),
27    https://view.highspot.com/viewer/6466ab9408ad6e9290593413 [https://perma.cc/A93G-GWCA].
      94
         LiveRamp, Data Marketplace Data Provider Directory, at slide 72 (May 2023),
28    https://view.highspot.com/viewer/6466ab9408ad6e9290593413 [https://perma.cc/A93G-GWCA].
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 1   ad platform Xandr. 95 Of these, 12.6 percent, or more than 78,000, apparently originated on
 2   LiveRamp’s Data Marketplace. 96
 3          104.     Searching the spreadsheet illustrates the vast amount of sensitive consumer data
 4   being bought and sold on the LiveRamp Data Marketplace and the detailed profiles on Plaintiffs and
 5   Class members that can be constructed using it. For example, 159 segments relate to “Trump;” of
 6   these, LiveRamp sells segments titled, for example, “Trump – Views by Republican Leaning Voters
 7   - Oppose Both Policies and Man,” “Distrust Trump Media Coverage,” and “Trump-Concerned
 8   About His Potential Business Conflicts – No.” 97 Twelve segments relate to transgender issues; of
 9   these, three were sold on the Marketplace, including “Allow Transgender Bathroom - Oppose” and
10   “Allow Transgender Bathroom - Support.” 98 LiveRamp sells segments titled “Use Any Rx
11   Treatment for Depression,” “Credit Crunched - City Singles,” and “Future Prospects to Experience
12   Poor Health.”
13

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20          105.     LiveRamp’s technical materials explain to its clients how to whitewash the segments
21   they make available for sale in order to conceal the sensitive nature of the information they are
22   selling. For example, LiveRamp advises that instead of (accurately) describing a sensitive segment
23   as containing “consumers who are barely scraping by and are always borrowing money from
24
     95
        Jon Keegan and Joel Eastwood, From “Heavy Purchasers” of Pregnancy Tests to the
25   Depression-Prone: We Found 650,000 Ways Advertisers Label You, THE MARKUP (June 8, 2023),
     https://themarkup.org/privacy/2023/06/08/from-heavy-purchasers-of-pregnancy-tests-to-the-
26   depression-prone-we-found-650000-ways-advertisers-label-you [https://perma.cc/MUG2-N38J].
     96
        Id.
27
     97
        Id.
28   98
        Id.
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 1   friends and family,” Data Marketplace data sellers should instead describe their segment as
 2   containing “consumer [sic] who are likely to borrow money.” 99
 3          106.    Similarly,   while   LiveRamp      purports   to     prohibit    segments       regarding
 4   “Cannabis/marijuana (THC, not CBD),” LiveRamp also states—via the equivalent of a nod and
 5   wink—that “Segments consisting exclusively of opinions about cannabis or marijuana, and that do
 6   not infer use, are not prohibited.” 100 Indeed, numerous segments targeting marijuana users are
 7   available on the Data Marketplace. 101
 8          107.    Likewise, LiveRamp purports to prohibit segments regarding: 102
 9                   a.     Reproductive health and rights, pregnancy, and fertility;
10                   b.     Sexually transmitted diseases;
11                   c.     Mental health-related conditions;
12                   d.     Sexual orientation;
13                   e.     Conditions predominantly affecting or associated with children and not
14           treated with over-the-counter medicine;
15                   f.     Information describing any individual’s known health or medical
16           condition(s), including Protected Health Information (PHI); and
17                   g.     Abortion.
18   Yet, LiveRamp simultaneously states that “[s]egments consisting exclusively of opinions about the
19   health-related topics listed [above], and that do not infer the person has or has had the condition,
20

21
     99
        Data Marketplace Segment Review and Approval, LIVERAMP,
22   https://docs.liveramp.com/connect/en/data-marketplace-segment-review-and-approval.html
     [https://perma.cc/ZP8M-VVAA] (emphasis in original).
23   100
         LiveRamp’s Data Marketplace Data Policy, LIVERAMP,
     https://docs.liveramp.com/connect/en/liveramp-s-data-marketplace-data-policy.html
24   [https://perma.cc/VQZ7-6B3B] (emphasis added).
     101
25       Jon Keegan and Joel Eastwood, From “Heavy Purchasers” of Pregnancy Tests to the
     Depression-Prone: We Found 650,000 Ways Advertisers Label You, THE MARKUP (June 8, 2023),
26   https://themarkup.org/privacy/2023/06/08/from-heavy-purchasers-of-pregnancy-tests-to-the-
     depression-prone-we-found-650000-ways-advertisers-label-you [https://perma.cc/MUG2-N38J].
27   102
         LiveRamp’s Data Marketplace Data Policy, LIVERAMP,
     https://docs.liveramp.com/connect/en/liveramp-s-data-marketplace-data-policy.html
28   [https://perma.cc/VQZ7-6B3B].
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 1   are not prohibited,” thereby allowing its customers to easily bypass its supposed restrictions. 103 In
 2   fact, as described above, LiveRamp’ Data Marketplace offers for sale segments on many
 3   supposedly prohibited topics, such as mental health and reproductive health issues.
 4           E.      LiveRamp’s “Third-Party Attribute Enrichment” Is a Uniquely Invasive and
                     Comprehensive Form of Surveillance.
 5
            108.    LiveRamp offers a particularly invasive and comprehensive form of surveillance for
 6
     sale through the Data Marketplace, known as the “Third-Party Attribute Enrichment” (formerly
 7
     known as “Third-Party Attribute Data Append” and the “Offline Data Marketplace”). 104 Through
 8
     this “Third-Party Attribute Enrichment,” LiveRamp connects its customers’ first-party data—such
 9
     as names, physical addresses, and email addresses—with “all of the currently-available data seller
10
     attributes” for the consumers associated with the data. 105 The customer then selects the segment data
11
     of interest and LiveRamp returns whatever “demographics and psychographic data” have been
12
     requested as an attachment to the original customer file. 106 LiveRamp directly packages and sells
13
     this data; as LiveRamp describes the process, “LiveRamp delivers your files back . . . . with the
14
     selected attribute data columns appended.” 107 In other words, LiveRamp offers for sale access to all
15
     of the information about a particular, identifiable person available on its Data Marketplace.
16
     LiveRamp provides detailed instructions on the proper formatting and process for requesting this
17
     information and completely controls the form in which the data is delivered.
18
            109.    LiveRamp provides a mockup image of an appended data file, labeled “INFUTOR
19
     SAMPLE LIVERAMP FILE.” 108 The file shows the customer’s data – names, addresses, emails,
20
     and phone numbers – and appended next to it, sweeping information about those individuals,
21

22

23
     103
24       Id. (emphasis added).
     104
         Third-Party Attribute Enrichment, LIVERAMP, https://docs.liveramp.com/connect/en/offline-
25   data-marketplace.html [https://perma.cc/37XV-4VHW]. LiveRamp changed the name of this
     product after Plaintiffs filed their original Complaint in this case.
26   105
         Id. (emphasis added).
27   106
         Id.
     107
28       Id. (emphasis added).
     108
         Id.
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 1   including what style car they drive, details about their occupation, health, relationship status,
 2   finances, and shopping habits. 109
 3           110.    Given the scope and breadth of the information sold on the Data Marketplace,
 4   combined with LiveRamp’s ability to track all U.S. consumers in real time and space on their devices
 5   through its RampID identity graph services, LiveRamp’s sale of these highly detailed, personal, and
 6   sensitive “psychographic” profiles represents one of the most uniquely invasive and comprehensive
 7   forms of surveillance in modern history.
 8           111.    LiveRamp generates revenue from the Data Marketplace “through revenue-sharing
 9   arrangements with data owners that are monetizing their data assets on [the] marketplace.” 110
10   LiveRamp profits greatly from the Data Marketplace; which, alone, generates over $100 million a
11   year in revenue. 111
12           112.    Plaintiffs’ knowledge regarding LiveRamp’s collection and use of their data is
13   described above at paragraphs 13–38. Based on current investigation, Plaintiffs cannot know the full
14   extent of the specific information that has been bought or sold about them through LiveRamp’s
15   services or the Data Marketplace. However, the data collection, data brokering, and identity
16   resolution practices described above exist to allow LiveRamp’s customers to leverage those
17   practices against individual consumers by targeting them on an individual level wherever they (or
18   their devices) may be found online or offline. Plaintiff Riganian’s RampID identity profile was
19   shared, for example, with at least the following 62 third parties, though LiveRamp has not disclosed
20   the specific data that was shared about Riganian with these third parties:
21

22

23

24

25
      109
          Id.
      110
26        LiveRamp, Form 10-K (Mar. 31, 2021),
      https://www.sec.gov/Archives/edgar/data/733269/000073326921000017/ramp-20210331.htm
27    [https://perma.cc/KFM8-8KWQ].
      111
          LiveRamp, Form 10-K (Mar. 31, 2023), https://investors.liveramp.com/node/18886/html
28    [https://perma.cc/DS4R-64UB].
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             F.      LiveRamp’s Bespoke Data Products Consist of Content of Its Own Creation
13
            113.    LiveRamp develops and creates content derived from granular personal information.
14
            114.    LiveRamp knowingly and deliberately aggregates otherwise virtually unassociated
15
     information and transforms it into commodity that reveals detailed and sensitive data tied to
16
     individual people via its RampID identity graph system. LiveRamp then makes that data
17
     commercially available on its Data Marketplace.
18
            115.    LiveRamp knows or should know that its unique expression of the processed data
19
     about Plaintiffs and Class members is sensitive and that using it is invasive.
20
            116.    LiveRamp curates, packages, advertises, and sells this “bespoke” and “custom”
21
     content it creates from data on the Data Marketplace and other sources.
22
            117.    LiveRamp is responsible, in whole or in part, for the production of the data dossiers
23
     available on the Data Marketplace.
24

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 1          118.    LiveRamp has constructed—in its own words—an entire Data Marketplace
 2   “ecosystem” 112 that is predicated on and functions in conjunction with data it sells, including the
 3   RampID identity profiles described above. 113
 4          119.    LiveRamp’s ability to sell its data products on the Data Marketplace depends upon
 5   LiveRamp’s ability to identify the individuals the data relates to, and its ability to reach those people
 6   on their various computers, mobile devices, and connected televisions, and correlate them with non-
 7   anonymous real-world identities through LiveRamp’s identity profiles.
 8          120.    LiveRamp, highlighting its central role in the creation and development of the content
 9   available through the Data Marketplace, describes the Data Marketplace as “a core part of
10   LiveRamp’s ability to provide customers with access to a vast collaborative network of rich
11   customer insights, which not only includes top-quality data partners, but also the ability to activate
12   this data via [LiveRamp’s] premier global ecosystem of technology and media platforms, agencies,
13   analytics environments, and TV partners.” 114
14          121.    LiveRamp, even when it is not the primary author of the content on the Data
15   Marketplace, is at least the functional equivalent of an author of content by virtue of how it
16   assembles, curates, transforms, and/or associates third party data to specifically identified persons
17   via the RampID identity graph system.
18          122.    LiveRamp provides central infrastructure and data connections, without which the
19   data on the Data Marketplace is effectively useless.
20                   a.      LiveRamp’s identity graph is the “key” that connects the data on the Data
21   Marketplace to real individuals for targeting.
22

23
     112
         Announcement: Transitioning from Oracle Data Cloud to the LiveRamp Data Marketplace
24   (6/21/24), LIVERAMP (June 21, 2024), https://docs.liveramp.com/connect/en/announcement--
     transitioning-from-oracle-data-cloud-to-the-liveramp-data-marketplace--6-21-24-.html
25   [https://perma.cc/R8RM-Z969].
     113
26       LiveRamp Form 10-K, at 10 (Mar. 31, 2024), https://investors.liveramp.com/static-
     files/3cfdcece-1721-49b5-b165-6f572b2db687 [https://perma.cc/7WHC-Q59C] (“Data accessed
27   through the LiveRamp Data Marketplace is connected via RampID”).
     114
         Helping LiveRamp Customers Find New Audiences After Oracle’s Advertising Exit,
28   LIVERAMP (June 12, 2024), https://liveramp.com/blog/helping-liveramp-customers-find-new-
     audiences-after-oracles-advertising-exit/ [https://perma.cc/HRC5-LYY8].
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 1                    b.      LiveRamp’s “Segment ID” identifiers are central to the function and flow of
 2    all data through the Data Marketplace; they are “used for tracking all key functions including
 3    distribution, usage collection, and billing.” 115
 4                    c.      Similarly, LiveRamp’s cookies are central to the functioning of segments on
 5    the Data Marketplace, as they provide critical information regarding the “reach” of any particular
 6    segment (i.e., the number of individual people contained in each segment). 116
 7           123.    LiveRamp’s involvement is central to all data buying, selling, and distribution steps
 8   on the Data Marketplace; LiveRamp tightly controls the format, presentation, and content of the
 9   data, facilitates all use and integration of the data by buyers, bills clients for data, and then distributes
10   the purchased data itself. 117
11           124.    Through the Data Marketplace, LiveRamp actively takes content from other sources,
12   curates it, and presents it on its platform to clients in novel configurations.
13           125.    As opposed to a passive market-keeper, LiveRamp endeavors to present itself to
14   potential clients and investors as a “match[er],” “activat[or],” and curator of the data on the Data
15   Marketplace; LiveRamp’s 2023 10-K highlights LiveRamp’s central, active role on the Data
16   Marketplace: “We activate data across an ecosystem of more than 550 partners, representing the
17   largest network of connections in the digital marketing space. We use 100% deterministic matching,
18   resulting in the strongest combination of reach and accuracy. Through our Data Marketplace, we
19   offer multi-sourced insight into approximately 700 million consumers worldwide[.]” 118
20           126.    LiveRamp contributes to and shapes the content of the information at issue. It is much
21   more than a passive transmitter of information provided by others; it is the developer, at least in part,
22   of that information through specialized products and services it offers that provide direct access to
23   data on the Data Marketplace. For example, LiveRamp offers “LiveRamp’s Advertiser Direct
24
      115
          Buying Segment Data from the Data Marketplace, LIVERAMP,
25    https://docs.liveramp.com/connect/en/buying-segment-data-from-the-data-marketplace.html
      [https://perma.cc/82QQ-ZVSN].
26    116
          Id.
      117
27        See generally, Data Marketplace, LIVERAMP, https://docs.liveramp.com/connect/en/data-
      marketplace.html [https://perma.cc/2KF5-2GYV] and related subpages.
      118
28        LiveRamp, Form 10-K (Mar. 31, 2023), https://investors.liveramp.com/node/18886/html
      [https://perma.cc/DS4R-64UB] (emphasis added).
                                                                           FIRST AMENDED CLASS ACTION COMPLAINT
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 1   Solution” which allows its clients to “use third-party data across a wide variety of verticals from the
 2   LiveRamp Data Marketplace” for delivery to “designated destination platforms, such as Facebook,
 3   Twitter, Pinterest, LinkedIn, Snapchat, and TikTok.” 119 This service is provided directly by
 4   LiveRamp: it is “billed directly by LiveRamp,” “requires a separate agreement with LiveRamp,”
 5   and further requires clients to “contact [their] LiveRamp representative” to sign up. 120 LiveRamp
 6   highlights the benefits of this centralized product offering, noting that “[w]ith a single contract [with
 7   LiveRamp] you can seamlessly distribute segments to all major social platforms.” 121
 8          127.    LiveRamp also directly makes available and sells the data on the Data Marketplace
 9   to its clients. As described above, LiveRamp sells dossiers on Class members through its Third-
10   Party Attribute Enrichment, through which “LiveRamp delivers” select “psychographic” data on
11   Class members to its clients.
12          128.    In addition to its central role in collecting, organizing, and selling data through the
13   Data Marketplace, LiveRamp creates content—consisting of personal information organized into
14   “segments”—for clients. LiveRamp repeatedly touts its ability to “[c]reat[e] custom segments” for
15   clients as a unique service it offers over and above what other data sellers on the Data Marketplace
16   provide. For example, “[i]f a customer doesn’t have a specific segment or dataset in mind, or it isn’t
17   available in the Data Marketplace, LiveRamp can create custom segments specifically for a
18   campaign or advertiser.” 122 Indeed, LiveRamp’s “Audience Solutions team” specializes in
19   creating “custom” segments for clients. LiveRamp characterizes the Audience Solutions team as a
20   “hotline” for “custom” data content; the team fields several requests every day for custom segments,
21   and created at least 700 such custom segments in 2022 alone. 123 In an online presentation for
22   119
         Implementing LiveRamp’s Advertiser Direct Solution, LIVERAMP,
23   https://docs.liveramp.com/connect/en/implementing-liveramp-s-advertiser-direct-solution.html
     [https://perma.cc/ZL5Y-3MNK].
24   120
         Id.
     121
         Id.
25   122
         See LiveRamp for Developers Recap – Session 6: Data Marketplace – Buyer API, LIVERAMP
26   (Aug. 25, 2021),
     https://web.archive.org/web/20240302162438/https://liveramp.com/developers/blog/liveramp-
27   for-developers-recap-session-6-data-marketplace-buyer-api/ [https://perma.cc/BBH9-WN2Q].
     (emphasis added).
     123
28       Stirista, Stirista + LiveRamp Present: “The Virtues of Audience Customization” Webinar,

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 1   potential clients, LiveRamp represents that “custom segments are a big part of what we [i.e., the
 2   Audience Solutions team] do, and you know they’re only getting more popular” 124
 3          129.    LiveRamp has actively sought to fill a recently-created void in the personal
 4   information market by offering “bespoke” personal information content creation services for clients.
 5   In late 2024, data broker Oracle shuttered its ad tech and data brokering business, shortly after
 6   settling a lawsuit filed by privacy advocates alleging Oracle had engaged in large-scale illegal
 7   surveillance through its ad tech practices. 125 A central product offering from Oracle was “Oracle
 8   Audiences,” which were “curated” datasets “built and acquired” directly by Oracle. 126 Seizing on
 9   the opportunity to step into the content-creation shoes of this massive alleged privacy violator,
10   LiveRamp wasted no time assuring former Oracle clients that the “LiveRamp Data Marketplace
11   offers a seamless transition to those clients looking for alternatives to Oracle’s [data] offerings . . .
12   Any audiences previously distributed through Oracle can effectively be supported through our
13   ecosystem, utilizing our robust identity solutions to maintain continuity and stability for supporting
14   your client’s data needs.” 127 LiveRamp further represents that its “Expert Support” team “is ready
15   to provide expert assistance in helping you recreate any custom audiences or access syndicated
16   segments” formerly available through Oracle’s customized data offerings. 128
17          130.    LiveRamp explicitly touts and advertises “bespoke” content it “develop[s]” for its
18   clients as substitute for Oracle’s now-defunct “curated” content: “[t]o facilitate a smooth transition
19   from Oracle Branded Audiences and Audiences by Oracle, we’ve developed bespoke third-party
20   data audiences tailored to your specific needs. If you are using Oracle Branded Audiences, we’re
21
     YOUTUBE (Feb. 23, 2023), https://www.youtube.com/watch?v=iHIN8jnYx6w
22   [https://perma.cc/E4VB-4YXC].
     124
         Id.
23   125
         Oracle Ads have had it: $2B operation shuts down after dwindling to $300M, THE REGISTER
     (June 13, 2024), https://www.theregister.com/2024/06/13/oracle_online_ads/
24   [https://perma.cc/TKU3-ELVL].
     126
         Oracle Audiences, Oracle, https://perma.cc/C9TV-QUAW (“Oracle Audiences has built and
25   acquired the most accurate audience datasets, constantly curated to ensure relevancy and scale, so
     you can deliver effective global advertising campaigns and increase customer acquisitions.”).
26   127
         Announcement: Transitioning from Oracle Data Cloud to the LiveRamp Data Marketplace
27   (6/21/24), LIVERAMP (June 21, 2024), https://docs.liveramp.com/connect/en/announcement--
     transitioning-from-oracle-data-cloud-to-the-liveramp-data-marketplace--6-21-24-.html
28   [https://perma.cc/R8RM-Z969].
     128
         Id.
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 1   collaborating with all of the Oracle Branded data suppliers . . . to deliver identical audiences through
 2   the LiveRamp Data Marketplace.” 129 LiveRamp is thus itself the information content provider for
 3   these “bespoke third-party data audiences tailored to [its clients] specific needs.” 130
 4          131.    To make its bespoke data products competitively saleable, LiveRamp explains to
 5   potential clients that it provides direct replacements for the “curated” personal information formerly
 6   available from and created by Oracle, utilizing a “dedicated” content creation team that
 7   “collaborate[s]closely” with data vendors:
 8           For those using Audiences by Oracle, we have new audience segments that can
             replace those that Oracle curated. Our solution incorporates best-in-class third-
 9           party data across key verticals, including CPG, B2B, Automotive, Intent and many
             more. With partnerships encompassing over 150 premium data suppliers, the
10           LiveRamp Data Marketplace is well-equipped to maintain continuity in all the data
             categories previously offered by Oracle. We can achieve these results through our
11           dedicated audience solutions team, which has collaborated closely with our
             data suppliers to identify and map out comparable segments to the Oracle
12           segments. Our success in managing this transition relies heavily on collaboration
             with our partners. 131
13
             G.      LiveRamp’s Practices are Recognized as Highly Offensive and Threats to
14                   Individual Privacy.

15          132.    LiveRamp originated as a notoriously privacy-invasive company known as

16   “RapLeaf.” 132 RapLeaf began, in 2006, as an online service through which people could rate each

17   other based on their business transactions. The company soon began scraping information from

18   social networks, voter-registration files, real estate records, and shopping histories, and matching

19   that data to email addresses. Next, it “decided to connect its database of dossiers on people to cookies

20   placed on those same individuals’ computers.” 133 This trove of sensitive data tied to each person

21
     129
         Oracle Curated Audiences Are Going Away – How LiveRamp’s Data Marketplace Can
22   Support Your Third-Party Data Needs, LIVERAMP (July 22, 2024),
     https://liveramp.com/blog/oracle-curated-audiences-are-going-away-how-liveramps-data-
23   marketplace-can-support-your-third-party-data-needs/ [https://perma.cc/9US3-GSHQ] (emphasis
     added).
24   130
         Id.
     131
25       Id.
     132
         RapLeaf CEO Hoffman Discusses New LiveRamp Solution and Company Strategy,
26   ADEXCHANGER (July 8, 2011), https://www.adexchanger.com/data-exchanges/rapleaf-ceo-
     hoffman/ [https://perma.cc/A5PV-P97Y].
27   133
         Emily Steel, A Web Pioneer Profiles Users by Name, WALL STREET JOURNAL (Oct. 25, 2010),
     https://www.wsj.com/articles/SB10001424052702304410504575560243259416072
28   [https://perma.cc/M4G6-Q5GN].
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 1   allowed RapLeaf to begin selling sensitive segments to advertisers. A 2010 Wall Street Journal
 2   investigation found that few online tracking companies were willing to do what RapLeaf did –
 3   connect online trackers to personal information like names and emails. 134 In 2011, RapLeaf created
 4   a data onboarding division named LiveRamp, which was acquired by Axciom in 2014, as discussed
 5   below. RapLeaf garnered significant public outrage over its privacy invasive and “creepy”
 6   practices. 135 The practices from which LiveRamp’s business model originated were thus widely
 7   recognized as privacy-invasive and highly offensive to reasonable people since their inception.
 8          133.    LiveRamp is the new name of the company formerly called Acxiom, which was a
 9   data broker that owned “the world’s largest commercial database on consumers,” containing
10   “information about 500 million active consumers worldwide, with about 1,500 data points per
11   person.” 136 LiveRamp was spun out into an independent company which was acquired by Acxiom
12   in 2014 for $310 million. 137
13          134.    Acxiom was the subject of a notorious data breach in 2003 (1.6 billion unencrypted
14   records stolen in a series of 137 attacks) 138 and embarrassing press in 2018 when Facebook (now
15   Meta) stopped allowing advertisers to target audiences using third-party data brokers after the
16   134
         Id.
     135
17       Googlers Buy More Junk Food Than Micrsofties, TECHCRUNCH (Mar. 22, 2011),
     https://techcrunch.com/2011/03/22/googlers-buy-more-junk-food-than-microsofties-and-why-
18   rapleaf-is-creepy/ [https://perma.cc/8WFB-WASV] (“If you weren’t creeped out by data-mining
     startup Rapleaf after reading about their ways in a relatively unsettling Wall Street Journal article
19   published last October (‘The San Francisco startup says it has 1 billion e-mail addresses in its
     database’), chances are you will be now.”); see also Wikipedia, RapLeaf,
20   https://en.wikipedia.org/wiki/RapLeaf [https://perma.cc/2EFJ-VKUM] (“Between 2007-2013,
     Rapleaf received significant backlash over the data collection practices and sale of individuals’
21   personal information to advertisers.” (citing sources)).
     136
         Natasha Singer, Acxiom, the Quiet Giant of Consumer Database Marketing, N.Y. TIMES (June
22   16, 2012) https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-consumer-
     database-marketing.html [https://perma.cc/ZWL8-69J9].
23
     137
         Wendy Parish, Acxiom Acquires Liveramp To Expand Marketing Reach, MARKETING DIVE
24   (May 14, 2014), https://www.marketingdive.com/news/acxiom-acquires-liveramp-to-expand-
     marketing-reach/263131/ [https://perma.cc/PD5V-X9CA].
25   138
         Richard Behar, Never Heard Of Acxiom? Chances Are It’s Heard of You, CNN MONEY (Feb.
     23, 2004),
26   https://money.cnn.com/magazines/fortune/fortune_archive/2004/02/23/362182/index.htm
     [https://perma.cc/TSL3-XSLT]; John Leyden, Acxiom database hacker jailed for 8 years, THE
27   REGISTER (Feb. 23, 2006),
     https://www.theregister.com/2006/02/23/acxiom_spam_hack_sentencing/ [https://perma.cc/P645-
28   3UVS].
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 1   Cambridge Analytics scandal. 139 Acxiom was one of the data brokers Cambridge Analytics had used
 2   to target and manipulate U.S. voters in 2016 140 and repeatedly identified as one of the intended
 3   targets of Facebook’s policy change. 141
 4          135.    In early 2018, in part in response to the Cambridge Analytica scandal, 142 Acxiom
 5   Corporation reorganized into two business units: LiveRamp (“the identity cloud for transforming
 6   the world’s data into value”) and Acxiom Marketing Solutions (“the leading provider of data
 7   solutions for powering exceptional customer experiences”). 143 LiveRamp received Acxiom’s
 8   “identity assets,” including the RampID identity graph system (then known as “IdentityLink”), the
 9   AbiliTec ID, and “Acxiom’s TV integrations,” thereby, according to the company, “creating the
10   world’s first truly end-to-end identity platform for people-based marketing.” 144
11

12
     139
13       David Ingram and Julia Fioretti, Facebook Cuts Ties to Data Brokers in Blow to Targeted Ads,
     REUTERS (Mar. 29, 2018), https://www.reuters.com/article/us-facebook-privacy/facebook-cuts-
14   ties-to-data-brokers-in-blow-to-targeted-ads-idUSKBN1H41KV [https://perma.cc/YZF5-LSHQ].
     140
         Natasha Lomas, Cambridge Analytica’s Nix Said It Licensed ‘Millions Of Data Points’ From
15   Acxiom, Experian, Infogroup To Target US Voters, TECHCRUNCH (June 6, 2018),
     https://techcrunch.com/2018/06/06/cambridge-analyticas-nix-said-it-licensed-millions-of-data-
16   points-from-axciom-experian-infogroup-to-target-us-voters/ [https://perma.cc/33ZR-QBNE]; see
     also Nandini Jammi, (@nandoodles), X,
17   https://twitter.com/nandoodles/status/1419580697833099268?lang=en [https://perma.cc/A42A-
     KY64].
18
     141
         Kurt Wagner, Facebook is Cutting Third-Party Data Providers Out of Ad Targeting to Clean
19   Up Its Act, VOX (Mar. 28, 2018), https://www.vox.com/2018/3/28/17174098/facebook-data-
     advertising-targeting-change-experian-acxiom [https://perma.cc/HQE7-FC5Q]; Nick Statt,
20   Facebook Will No Longer Allow Third-Party Data For Targeting Ads, THE VERGE (Mar. 28,
     2018), https://www.theverge.com/2018/3/28/17174854/facebook-shutting-down-partner-
21   categories-ad-targeting-cambridge-analytica [https://perma.cc/YDF2-U8YZ]; Todd Spangler,
     Facebook Says Info on Up to 87 Million Users Was ‘Improperly’ Shared With Cambridge
22   Analytica, VARIETY (Apr. 4, 2018), https://variety.com/2018/digital/news/facebook-87-million-
     users-cambridge-analytica-leak-1202743952/ [https://perma.cc/4YY6-2ND9].
23   142
         See, e.g., Sara Fischer, IPG to Acquire most of Acxiom for $2.3 billion, AXIOS (July 2, 2018),
     https://www.axios.com/2018/07/02/interpublic-mediabrands-buys-majority-of-axciom-for-23-
24   billion-dollars-1530570665; see also Mike Shields, One of the data companies that Facebook just
     kicked off its platform is livid: ‘We are getting thrown under the bus’, BUSINESS INSIDER (Mar.
25   29, 2018), https://www.businessinsider.com/advertising-data-company-acxiom-is-livid-that-
     facebook-just-kicked-them-off-its-platform-2018-3.
26
     143
         Acxiom Realigns Portfolio to Drive Long-Term Success, LIVERAMP (Feb. 6, 2018),
27   https://investors.liveramp.com/news-releases/news-release-details/acxiom-realigns-portfolio-
     drive-long-term-success [https://perma.cc/WWT3-YUWY].
28   144
         Id.
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 1          136.    Acxiom Marketing Solutions (AMS) took on the rest of Acxiom’s data and marketing
 2   business. In late 2018, facing intensified regulatory scrutiny in the wake of the Cambridge Analytica
 3   scandal, 145 Acxiom sold AMS to The Interpublic Group of Companies Inc., a publicly traded group
 4   of advertising and marketing companies, and renamed itself LiveRamp Holdings, Inc. 146
 5          137.    Both before its acquisition by legacy Acxiom in 2014 and especially since legacy
 6   Acxiom sold AMS and renamed itself LiveRamp in 2018, commentators have pointed to
 7   LiveRamp’s tremendous capacity to inflict privacy harms. For example, in 2014, just as legacy
 8   Acxiom was acquiring LiveRamp, ProPublica pointed to LiveRamp as the reason “Why Online
 9   Tracking Is Getting Creepier,” 147 specifically referencing LiveRamp’s merger of offline personal
10   information and online identifiers. Quoting now-LiveRamp CEO Scott Howe, the article notes, “The
11   marriage of online and offline is the ad targeting of the last 10 years on steroids.” 148
12          138.    Critics, like then-Federal Trade Commission (FTC) Chairwoman Edith Ramirez,
13   worried about LiveRamp’s capacity to covertly control the public’s experience of, and reaction to,
14   the world around them: “Will these classifications mean that some consumers will only be shown
15   advertisements for subprime loans while others will see ads for credit cards? . . . Will some be
16   routinely shunted to inferior customer service?” LiveRamp’s suggestion that its services can be used,
17   for example, to exclude or “suppress” high risk prospective clients from insurance advertising
18   indicates the answer to Ramirez’s question is yes. 149
19          139.    These worries persist. In a 2022 article titled “These Companies Know When You’re
20   Pregnant—And They’re Not Keeping It Secret,” Gizmodo.com found billions of unique records for
21   145
         Sara Fischer, IPG to Acquire Most of Acxiom for $2.3 Billion, AXIOS (July 2, 2018),
     https://www.axios.com/2018/07/02/interpublic-mediabrands-buys-majority-of-axciom-for-23-
22   billion-dollars-1530570665 [https://perma.cc/PY59-8F9Y].
     146
23       Acxiom Marketing Solutions Sale Now Complete, LIVERAMP (Oct. 1, 2018),
     https://investors.liveramp.com/news-releases/news-release-details/acxiom-marketing-solutions-
24   sale-now-complete [https://perma.cc/Y3EG-BXSZ].
     147
         Julie Angwin, Why Online Tracking is Getting Creepier, PROPUBLICA (June 12, 2014),
25   https://www.propublica.org/article/why-online-tracking-is-getting-creepier
     [https://perma.cc/KNS9-E5JN].
26
     148
         Id.
27   149
         RampUp, LiveRamp B2B: Identity Solutions are Open For Business | RampUp Conference,
     YouTube at 33:48 (May 31, 2019), https://www.youtube.com/watch?v=M3nrB1rfKFE
28   [https://perma.cc/6JXT-8VCP].
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 1   sale on LiveRamp’s Data Marketplace purporting to identify people who were pregnant or interested
 2   in becoming so: “32 different brokers across the U.S. selling access to the unique mobile IDs from
 3   some 2.9 billion profiles of people pegged as ‘actively pregnant’ or ‘shopping for maternity
 4   products.’ Also on the market: data on 478 million customer profiles labeled ‘interested in
 5   pregnancy’ or ‘intending to become pregnant.’” 150 Gizmodo “was able to find each of these datasets
 6   up for sale through Liveramp, a company that, in part, functions as a clearinghouse and distribution
 7   hub [for] countless data brokers’ wares.” 151 Gizmodo also found that LiveRamp “did not put any
 8   restrictions on buying two-thirds of the databases.” And “the minority that did come with purchasing
 9   conditions” simply “required authorization from Liveramp before purchasing.’” 152
10           140.   The article noted the intense state interest in this data:
11           Pregnancy data is poised to be a huge boon for law enforcement in the post-Roe era.
             If you’re a cop, [a] product manager said, it’s as easy as “filling out [a data broker’s]
12           ‘contact us’ form and ask how much it costs. . . . [L]ikely, they’ll say ‘Put another
             zero after it, and see if we say yes.’” 153
13
             141.   In 2020, Slate.com ranked LiveRamp as twelfth on its list of the thirty most “evil”
14
     (that is, harmful) tech companies. As summarized by Slate, “LiveRamp collects personal info like
15
     home values, credit card transactions, and health history from hundreds of millions of people in
16
     order to sustain the $100 billion online ad industry. Why do you keep seeing shoe ads all over the
17
     web, maybe even on this very page you’re reading, after browsing for loafers on Amazon? These
18
     guys.” 154
19
             142.   One commentator pointed to data brokers like LiveRamp as “epitomiz[ing] the way
20
     ‘online’ and ‘offline’ behavior are being collapsed, even as there persists some sense that they are
21

22

23
      150
          Shoshana Wodinsky and Kyle Barr, These Companies Know When You’re Pregnant—And
24    They’re Not Keeping It Secret, GIZMODO (July 30, 2022), https://gizmodo.com/data-brokers-
      selling-pregnancy-roe-v-wade-abortion-1849148426 [https://perma.cc/FYW2-UL7B].
25
      151
          Id.
26    152
          Id.
      153
27        Id.
      154
          The Evil List, SLATE (Jan. 15, 2020), https://slate.com/technology/2020/01/evil-list-tech-
28    companies-dangerous-amazon-facebook-google-palantir.html [https://perma.cc/2MWZ-T7P5].
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 1   separate.” A “profile about our viability as a consumer” constructed by LiveRamp “is a secret held
 2   against us . . . yet it dictates the experiences we have in the commercial world (i.e., everywhere).” 155
 3          143.    Like other new-model AdTech companies, LiveRamp markets itself as part of a new,
 4   “privacy protective” and “cookieless” advertising model that does not depend on tracking
 5   consumers’ online activity through third-party cookies. But commentators argue that the
 6   “cookieless” future is even bleaker from a privacy perspective than the AdTech industry’s past.
 7   “Cookieless” technologies like LiveRamp’s generally depend on “first-party”—that is, consumer-
 8   provided—data such as email addresses and phone numbers. 156 “The proposed first-party identifiers
 9   essentially are more privacy-invasive than even cookies, and provide users with less transparency
10   and control,” 157 These identifiers “create persistent, identifiable connections to people across
11   activity on multiple devices,” and, according to the privacy advocate, are “even more robust of an
12   identifier than your actual name or other [personally-identifiable information].” 158
13          144.    Academic researchers likewise have raised the alarm about the false promises of
14   “cookieless” advertising. The persistence of cookieless trackers like RampIDs “can last for a greater
15   duration than third-party cookies, which users frequently delete.” 159 Identity resolution services like
16   LiveRamp’s “allow[] advertisers to develop rich profiles of existing customers through pairing data
17   purchased from data brokers but also non-customers across the open web.” 160 And cookieless
18   trackers “encourage circumvention of targeting restrictions by advertising platforms” because there
19   is “no mechanism to verify how advertisers have segmented first-party data before importing into
20
     155
21       Id. (emphasis added).
     156
         Kate Kaye, After Winning The Battle Over Third-Party Cookie Tracking, Will Privacy
22   Advocates Lose The Personal-Data Use War?, DIGIDAY (Mar. 29, 2021),
     https://digiday.com/media/after-winning-the-battle-over-third-party-cookie-tracking-will-privacy-
23   advocates-lose-the-personal-data-use-war [https://perma.cc/2NHE-HV93].
     157
24       Id.
     158
         Id.
25
     159
         Ido Sivan-Sevilla and Patrick T. Parham, Toward (Greater) Consumer Surveillance in a
26   ‘Cookie-less’ World: A Comparative Analysis of Current and Future Web Tracking Mechanisms,
     FEDERAL TRADE COMMISSION, https://www.ftc.gov/system/files/ftc_gov/pdf/PrivacyCon-2022-
27   Parham-Toward-Greater-Consumer-Surveillance-in-a-Cookie-less-World.pdf
     [https://perma.cc/FG6U-NEGM].
28   160
         Id.
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 1   these systems.” 161 In short, “implementation of cookie-less tracking solutions by the AdTech
 2   complex potentially enables greater dynamic visibility on consumers, longer consumer tracking, and
 3   the assembling of more sensitive consumer profiles.” 162 Far from the solution to the AdTech
 4   industry’s privacy problems, LiveRamp represents the most recent and most sophisticated evolution
 5   of them.
 6          145.      The California Privacy Protection Agency—the nation’s first dedicated privacy
 7   enforcement agency—has singled out LiveRamp’s data collection and identification practices as
 8   particularly expansive, pointing to them as exemplifying invasive identity resolution practices, in
 9   particular the use of “myriad of different online identifiers for devices” that are “associate[d] with
10   pseudonymous profiles.” 163
11          146.      In 2024, the FTC sued LiveRamp business partner Avast for harming internet users
12   by selling internet users’ web browsing data to LiveRamp (among others) for LiveRamp’s use,
13   without internet users’ knowledge or consent. According to the FTC:
14              [From] May 2017 to April 2019, [Avast subsidiary] Jumpshot granted LiveRamp, a
                data company that specializes in various identity services, a “world-wide license” to
15              use consumers’ granular browsing information, including all clicks, timestamps,
                persistent identifiers, and cookie values, for a number of specified purposes. One
16              specified purpose was “targeting, messaging and other data driven marketing
                activities served to consumers and businesses.” Other terms appear to permit
17              LiveRamp to use Jumpshot’s consumer data to track and target consumers across
                multiple devices. . . . These provisions permit the targeting of Avast consumers
18              using LiveRamp’s ability to match Respondents’ persistent identifiers to
                LiveRamp’s own persistent identifiers, thereby associating data collected from
19              Avast users with LiveRamp’s data.
20          147.      The FTC noted that “Re-identifiable browsing information,” like that illegally sold
21   to LiveRamp, “is sensitive data” and that Avast “had direct evidence that many consumers did not
22   want their browsing information to be sold to third parties” like LiveRamp. 164
23
     161
         Id.
24   162
         Id.
25   163
         CALIFORNIA PRIVACY PROTECTION AGENCY, Final Statement of Reasons,
     https://cppa.ca.gov/meetings/materials/20230203_item4_fsor.pdf [https://perma.cc/9NX3-WC5Z]
26   (“As demonstrated by LiveRamp’s Subject Access Request Explanatory Information Document,
     businesses use a myriad of different online identifiers for devices that they can associate with
27   pseudonymous profiles.”).
     164
28       FEDERAL TRADE COMMISSION, In the Matter of Avast Limited, et al., Complaint,

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 1          148.    International privacy advocates have likewise decried LiveRamp’s worldwide,
 2   deeply invasive surveillance practices. For example, on February 28, 2024, Open Rights Group
 3   (“ORG”), a UK-based digital privacy organization, submitted complaints about LiveRamp’s
 4   practices to the UK Information Commissioner’s Office (“ICO”) and the French Commission
 5   Nationale de l’informatique et des Libertés (“CNIL”) describing LiveRamp’s practices as “more
 6   intrusive and pervasive than previous adtech technologies.” 165 ORG states that LiveRamp’s “new
 7   and dangerous technologies are an attempt to get around changes that limit the use of tracking
 8   cookies, and to make online advertising more intrusive rather than less.” 166 ORG called on the ICO
 9   and the CNIL to “halt these new and dangerous technologies before they get out of hand.” 167
10           H.      Effective Consent to LiveRamp’s Practices is Impossible.
11          149.    The long-established common law, statutory, and Constitutional rights to privacy are
12   inherently and inextricably linked to fundamental cultural values of autonomy and freedom. The
13   concept of “consent” reinforces these cultural values by functioning as a way for individuals to
14   protect their privacy by exercising control over their personal information—what personal
15   information organizations can collect, how they can use it, and to whom they can disclose it.
16   LiveRamp conducts the business practices alleged in this complaint within a context and in a manner
17   where consent from the persons whose data it assembles is not reasonably possible or practical, in
18   fact does not occur, and for which, in light of the extent of the privacy rights that are violated by
19   LiveRamp’s business practices, no consent to such practices could be enforced as a matter of law.
20

21
     https://www.ftc.gov/system/files/ftc_gov/pdf/Complaint-Avast.pdf [https://perma.cc/EVZ3-
22   8JY5].
     165
         ORG Submits Complaints About Intrusive LiveRamp AdTech System, OPEN RIGHTS GROUP
23   (Feb. 28, 2024), https://www.openrightsgroup.org/press-releases/org-complaint-liveramp-adtech/
     [https://perma.cc/8YDK-RU7G]; OPEN RIGHTS GROUP, Complaint to the ICO (Feb. 28, 2024),
24   https://www.openrightsgroup.org/app/uploads/2024/02/ORG-complaint-FINAL.pdf
     [https://perma.cc/JU72-T4YP]; OPEN RIGHTS GROUP, Complaint to the CNIL (in French) (Feb.
25   28, 2024), https://www.openrightsgroup.org/app/uploads/2024/02/ORG-plainte.pdf
     [https://perma.cc/Z6WV-R5RV].
26
     166
         ORG Submits Complaints About Intrusive LiveRamp AdTech System, OPEN RIGHTS GROUP
27   (Feb. 28, 2024), https://www.openrightsgroup.org/press-releases/org-complaint-liveramp-adtech/
     [https://perma.cc/8YDK-RU7G].
28   167
         Id.
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 1          150.    Plaintiffs and Class members, like our society at large, have no practical choice or
 2   ability but to conduct their daily lives substantially in the digital world, connected to the Internet,
 3   with their personal information traveling through cyberspace every day. Because much of daily
 4   activities of life are now conducted online—whether financial, commercial, or social—Internet
 5   activity has become an “exhaustive chronicle” of one’s life. The personal information necessary for
 6   these activities courses through the Internet as these activities take place, and, when aggregated, can
 7   provide deep insight into a person’s thinking, acting, and being. Without an expectation of privacy
 8   on the Internet, there would functionally be no expectation of privacy anywhere. And, of course,
 9   there is no choice (other than homelessness) in having a physical address in the real world and other
10   items of “offline PII” on which LiveRamp relies for its RampID product.
11          151.    LiveRamp sits atop a complex data collection and processing apparatus, feeding its
12   labyrinthine multinational data marketplace, making it impossible for ordinary persons to reasonably
13   understand the true purpose and extent of LiveRamp’s data collection, compiling of digital dossiers,
14   and other data exploitation practices, which are opaque, if not invisible, to ordinary data subjects.
15   Given the complexity and disguised nature of LiveRamp’s collection and use of personal
16   information, and the lack of any direct relationship between LiveRamp and the Plaintiffs and Class
17   members, there is no reasonable basis for Plaintiffs and Class members to know the extent to which
18   LiveRamp is obtaining their data, tracking them, and selling their data or services derived from their
19   data. Indeed, even exceptionally well-informed people struggle to understand the full scope of these
20   issues using publicly available information.
21          152.    LiveRamp’s presence on the Internet and in the digital world is ubiquitous, by design,
22   and its data gathering activities are constant, vast, and encompass a massive swath of Internet
23   activity. The breadth and complexity of sources from which LiveRamp compiles digital dossiers, or
24   comprehensive identity profiles, on Class members is such that as a practical matter, Plaintiffs and
25   Class members have no way of knowing—and thus no way of even being able to consent to—the
26   actual scope of LiveRamp’s conduct. Plaintiffs and Class members do not, merely by virtue of
27   conducting the necessary activities of daily life, both online and in the physical world, consent to
28

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 1   constant and pervasive surveillance by LiveRamp and the creation of comprehensive identity
 2   profiles about them.
 3            153.    In as much as the Internet and digital existence has become integral to people’s lives,
 4   its functioning and complexity with respect to personal information remains opaque to reasonably
 5   informed people. The Findings and Declarations of the California Privacy Rights Act (CPRA) notes
 6   that the “asymmetry of information” inherent in the “collect[ion] and use [of] consumers’ personal
 7   information . . . makes it difficult for consumers to understand what they are exchanging and
 8   therefore to negotiate effectively with businesses.” 168 There is asymmetry of knowledge between
 9   LiveRamp and the data subjects it exploits, including Plaintiffs and Class members, in that
10   LiveRamp has complete knowledge of its data collection and data exploitation practices, but
11   Plaintiffs and Class members have no direct relationship with LiveRamp regarding these practices
12   and no reasonable basis to discern those practices, nor the nature of the practices directed at them.
13            154.    Plaintiffs and Class members cannot reasonably foresee all the ways in which
14   LiveRamp may use the comprehensive identity profiles it is compiling on them. Plaintiffs and Class
15   members have no way of knowing the specific third parties to which LiveRamp will provide their
16   personal information or what those third parties will do with that information. Plaintiffs and Class
17   members thus cannot provide knowing and informed consent to LiveRamp’s dissemination of their
18   personal information.
19            155.    LiveRamp makes no pretense of having directly obtained consent from the persons
20   whose data it gathers, including Plaintiffs and Class members. At no point during its process of
21   collecting or processing personal information, compiling of dossiers, or selling services based on
22   that personal information, does LiveRamp ever directly ask individuals for their consent. LiveRamp
23   legally acknowledges this by virtue of its registration as a data broker wherein it admits it “does not
24   have a direct relationship” with the subjects whose data it exploits. See Cal. Civ. Code § 1798.99.80.
25   Instead, LiveRamp’s fiction of consent depends on consent being given through each of its hundreds
26   or thousands of “partner” websites and other online and offline services. But users of those services
27   cannot reasonably be expected to read or comprehend each of the thousands of privacy policies they
28
     168
           The California Privacy Rights Act of 2020, Sec. 2(F), https://thecpra.org/.
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 1   encounter. Nor should (or could) users reasonably anticipate the breadth with which their personal
 2   information is ultimately used – collected, collated, and compiled into dossiers, and sold to hundreds
 3   of data companies.
 4           156.    Nor have Plaintiffs and Class members manifested any form of consent indirectly to
 5   LiveRamp. LiveRamp publishes so-called privacy policies on its website, but these policies are not
 6   reasonably directed to Plaintiffs and Class members, all of whom lack any direct relationship with
 7   LiveRamp and have no reasonable insight into LiveRamp’s data collection and data exploitation
 8   practices or how they may or may not be subject to such practices, and therefore there is no
 9   reasonable basis for Plaintiffs and Class members to be aware of LiveRamp’s privacy policies or to
10   have directed themselves to them. Plaintiffs and Class members are not legally subject to or
11   governed by LiveRamp’s published privacy policies. In any event, LiveRamp’s privacy policies fail
12   to disclose the nature or extent of the pervasive identity surveillance LiveRamp engages in, nor do
13   they disclose the extent or sensitivity of the personal information available for sale through its Data
14   Marketplace—indeed, LiveRamp’s so-called privacy policies do not even mention the “Data
15   Marketplace” at all. 169
16           157.    Even if Plaintiffs and Class members were to encounter LiveRamp’s so-called
17   privacy policies, the policies are themselves are insufficient to adequately inform Plaintiffs and
18   Class members about the nature and extent of LiveRamp’s data collection and data exploitation
19   practices, especially with regard to their personal information. Plaintiffs and Class members are in
20   the course of daily life barraged with thousands of pages of purported “terms and conditions” and
21   “privacy policies” for online products and services. Computer science researchers have estimated
22   that, based on the number of unique sites American Internet users visit annually, it would take the
23   average Internet user between 181 to 304 hours to read the relevant privacy policies; this translates
24   to approximately 72 billion hours per year for every U.S. Internet user to read all the privacy policies
25   he or she encounters. 170 LiveRamp knows, or reasonably should know, that it is not reasonably
26
      169
          See, e.g., California Privacy Notice, LIVERAMP (Last Updated Oct. 15, 2024),
27    https://liveramp.com/privacy/california-privacy-notice/ [https://perma.cc/GU7L-DKYM].
      170
28        See Aleecia M. McDonald and Lorrie Faith Cranor, The Cost of Reading Privacy Policies. I/S

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 1   possible for Internet users to read or comprehend the thousands of privacy policies they encounter,
 2   including LiveRamp’s privacy policies.
 3          158.    As privacy scholars have noted, issues that users must navigate to understand the
 4   significance of consent are too complex and the conditions surrounding consent too easy to
 5   manipulate for any purported consent to be informed and meaningful. 171 While it is well-known that
 6   many websites include “cookie popups” that purport to ask for consent for the website placing a
 7   cookie on the users’ computer, in practice, most formulations of user control rights fail to sufficiently
 8   explain that cookie tracking leads to profiling based on information derived from user behavior.
 9   These practices, whether by LiveRamp or its “partners,” fail to provide sufficient means to obtain
10   the legally viable consent to LiveRamp’s mass data collection, behavior tracking, and assembling
11   of comprehensive identity profiles based on that data.
12          159.    Neither LiveRamp’s so-called privacy policies, nor the policies of third-party Internet
13   publishers, could provide any reasonable basis for Plaintiffs and Class members to have consented
14   to LiveRamp’s data collection, compiling of comprehensive identity profiles, and other data
15   exploitation practices, or to have waived their privacy rights, including to be free from LiveRamp’s
16   pervasive surveillance of them.
17          160.    LiveRamp knows, or reasonably should know, that Internet users such as Plaintiffs
18   and Class members have insufficient knowledge or basis to reasonably comprehend the extent to
19   which LiveRamp is obtaining their data, tracking their activity, and compiling it into digital dossiers,
20   nor the deeply invasive and detailed nature of those dossiers. LiveRamp makes no disclosure
21   anywhere directly to Plaintiffs or Class members of these practices. To the extent Plaintiffs or Class
22   members indirectly acknowledge to third parties the presence of some aspect of an isolated data
23

24   A Journal of Law and Policy for the Information Society. 2008 Privacy Year in Review Issue, at
     17 (2008), https://kb.osu.edu/server/api/core/bitstreams/a9510be5-b51e-526d-aea3-
25   8e9636bc00cd/content [https://perma.cc/X6R8-YXHW].
     171
         See Alessandro Acquisti, Curtis Taylor et al., The Economics of Privacy, 54 J. ECON.
26   LITERATURE 442 (2016), https://pubs.aeaweb.org/doi/pdfplus/10.1257/jel.54.2.442
     [https://perma.cc/3KPV-5WHV]; Woodrow Hartzog, Privacy’s Blueprint: The Battle to Control
27   the Design of New Technologies (2018); Nora A. Draper & Joseph Turow, The Corporate
     Cultivation of Digital Resignation, 21 NEW MEDIA & SOC’Y (2019),
28   https://doi.org/10.1177/1461444819833331 [https://perma.cc/J8B4-K3ES].
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 1   collection practice, or tracking cookie on an individual website, such acknowledgement in no way
 2   does or could reflect any consent or sufficient understanding of LiveRamp’s practices to connect
 3   their online identity to their offline identities and activities, and to surveil them on both for sale of
 4   their personal information in an international marketplace.
 5          161.    LiveRamp effectuates ongoing, comprehensive surveillance of Plaintiffs and Class
 6   members which grievously intrudes upon their privacy, and which inevitably results in the corrosion
 7   of their individual autonomy and the collective autonomy of the society at large. Ordinary people,
 8   such as Plaintiffs and Class members, do not and cannot possess an appropriate level of knowledge
 9   about the substantial threats that LiveRamp’s surveillance poses to their own autonomy (in addition
10   to lacking information sufficient to comprehend the nature and extent of LiveRamp’s surveillance
11   and its other implications).
12          162.    The social harms posed by LiveRamp’s conduct impair not only individual
13   autonomy, but the collective autonomy of Plaintiffs and Class members, as all members of a society
14   have an interest in the enforcement of privacy rights, freedom from surveillance, and preservation
15   of autonomy. Evisceration of these privacy values inexorably leads to the abrogation of the
16   autonomy and freedom of the citizenry which are essential to the proper functioning of democratic
17   republics. These harms caused by LiveRamp far outweigh the commercial benefits that extend to a
18   private corporation. In the context of LiveRamp’s practices, valid consent from Plaintiffs and the
19   Class members is not only absent, but not even possible.
20          163.    Plaintiffs and Class members in fact have not waived their fundamental right to be
21   free from the pervasive surveillance LiveRamp subjects them to. In any event, even if there were
22   any basis to conclude that Plaintiffs and Class members could be considered to have waived their
23   reasonable expectation of privacy with respect to LiveRamp’s practices (and there is not), such
24   waiver would be void and invalid as against public policy.
25   VIII. CLASS ALLEGATIONS
26          164.    Plaintiffs bring this class action, pursuant to Rule 23 of the Federal Rules of Civil
27   Procedure, individually and on behalf of all members of the following classes, which are jointly
28   referred to throughout this Complaint as the “Classes:”

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 1           United States Class for Intrusion Upon Seclusion, Unjust Enrichment and
             Declaratory Relief (“United States Class”):
 2
             All natural persons located in the United States whose personal information, or
 3           data derived from their personal information, was made available for sale or use
             through LiveRamp’s RampID or Data Marketplace.
 4
             United States Sub-Class for Violations of the Electronic Communications
 5           Privacy Act (“ECPA”) and the California Invasion of Privacy Act (“CIPA”)
             Sub-Class (“ECPA and CIPA Sub-Class”):
 6
             All members of the United States Class whose contents of their electronic
 7           communications were intercepted by LiveRamp or whose routing, addressing or
             signaling information was recorded by LiveRamp.
 8
             California Sub-Class for Violation of Privacy under the California
 9           Constitution (“California Sub-Class”):
10           All members of the United States Class located in California whose personal
             information, or data derived from their personal information, was made available
11           for sale or use through LiveRamp’s RampID or Data Marketplace.
12          165.     Excluded from the Classes are the following individuals: officers and directors of

13   LiveRamp and its parents, subsidiaries, affiliates, and any entity in which LiveRamp has a

14   controlling interest; and all judges assigned to hear any aspect of this litigation, as well as their

15   immediate family members.

16          166.     Plaintiffs reserve the right to modify or amend the definition of each of the proposed

17   Classes before the Court determines whether certification is appropriate.

18          167.     This action readily satisfies the requirements set forth under Federal Rule of Civil

19   Procedure 23:

20                   a.      Each Class is so numerous that joinder of all members is impracticable.

21           Upon information and belief, Class members number in the millions.

22                   b.      There are questions of law or fact common to the Classes. These questions

23           include, but are not limited to, the following:

24                           1)      Whether LiveRamp’s acts and practices complained of herein

25                                   amount to egregious breaches of social norms;

26                           2)      Whether LiveRamp acted intentionally in violating Plaintiffs’ and

27                                   Class members’ privacy rights;

28

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 1                        3)      Whether LiveRamp was unjustly enriched as a result of its violations
 2                                of Plaintiffs’ and Class members’ privacy rights;
 3                        4)      Whether an injunction should issue; and
 4                        5)      Whether declaratory relief should be granted.
 5                c.      Plaintiffs’ claims are typical of the claims of the Classes. Plaintiffs and Class
 6         members did not consent to LiveRamp’s interception, collection, analysis, and sale or their
 7         personal information, which acts form the basis for this suit.
 8                d.      Moreover, like all Class members, Plaintiffs suffer a substantial risk of
 9         repeated injury in the future. Plaintiffs continue to use devices that are capable of reporting
10         personal information to LiveRamp. LiveRamp’s actions have thwarted and continue to
11         threaten Plaintiffs’ (and Class members’) ability to exercise control over their own privacy
12         while using their devices. Because the conduct complained of herein is systemic, Plaintiffs
13         and Class members face substantial risk of the same injury in the future. LiveRamp’s
14         conduct is common to Plaintiffs and Class members and represents a common pattern of
15         conduct resulting in injury to all members of the Classes. Plaintiffs have suffered the harm
16         alleged and have no interests antagonistic to any other Class member.
17                e.      Plaintiffs will fairly and adequately protect the interests of the Classes.
18         Plaintiffs’ interests do not conflict with the interests of Class members. Furthermore,
19         Plaintiffs have retained competent counsel experienced in class action, consumer
20         protection, and electronic privacy litigation. Plaintiffs’ counsel will fairly and adequately
21         protect and represent the interests of the Classes. Federal Rule of Civil Procedure 23(a)(4)
22         and 23(g) are satisfied.
23                f.      In acting as above-alleged, LiveRamp has acted on grounds generally
24         applicable to the Classes, thereby making final injunctive relief and corresponding
25         declaratory relief each appropriate with respect to the Classes as a whole. The prosecution
26         of separate actions by individual Class members would create the risk of inconsistent or
27         varying adjudications with respect to individual Class members that would establish
28         incompatible standards of conduct for LiveRamp.

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 1   IX.     CAUSES OF ACTION
 2                                           First Cause of Action
                             Invasion of Privacy Under the California Constitution
 3                                  (on behalf of the California Sub-Class)
 4          168.       Plaintiff Riganian and the California Sub-Class members repeat and reallege all

 5   preceding paragraphs contained herein.

 6          169.       Article I, section 1 of the California Constitution provides: “All people are by nature

 7   free and independent and have inalienable rights. Among these are enjoying and defending life and

 8   liberty, acquiring, possessing, and protecting property and pursuing and obtaining safety, happiness,

 9   and privacy.” The phrase “and privacy” was added by the “Privacy Initiative” adopted by California

10   voters in 1972.

11          170.       The addition of the phrase “and privacy” occurred after voters approved a proposed

12   legislative constitutional amendment designated as Proposition 11. Proposition 11 was intended to

13   curb businesses’ control over the unauthorized collection and use of peoples’ personal information,

14   as the ballot argument stated:

15           The right of privacy is the right to be left alone. . . . It prevents government and
             business interests from collecting and stockpiling unnecessary information about us
16           and from misusing information gathered for one purpose in order to serve other
             purposes or to embarrass us. Fundamental to our privacy is the ability to control
17           circulation of personal information. This is essential to social relationships and
             personal freedom. 172
18
            171.       This amended constitutional provision addresses the concern over accelerating
19
     encroachment on personal freedom and security caused by increasing surveillance and data
20
     collection activity in contemporary society. Its proponents meant to afford individuals more
21
     measures of protection against this most modern threat to personal privacy:
22
             Computerization of records makes it possible to create ‘cradle-to-grave’ profiles of
23           every American. At present there are no effective restraints on the information
             activities of government and business. This amendment creates a legal and
24           enforceable right of privacy for every Californian. 173
25

26
     172
27       Ballot Pamp., Proposed Stats. & Amends. To Cal. Const. With Arguments to Voters. Gen.
     Election *26 (Nov. 7, 1972).
28   173
         Id.
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 1   In recognizing these privacy rights, the California Constitution provides insight into and serves to
 2   define the nature of the reasonable expectation of privacy of an objectively reasonable California
 3   resident. In contravention to the California Constitution and the reasonable expectations of privacy
 4   of California residents, LiveRamp “stockpil[es] unnecessary information about [Class members]
 5   and [] misus[es]information gathered for one purpose in order to serve other purposes,” creating
 6   “cradle-to-grave” profiles of Class members.
 7          172.    Plaintiff Riganian and the California Sub-Class members maintain a reasonable
 8   expectation of privacy in the conduct of their lives, including their internet browsing activities and
 9   in their electronic communications and exchange of personal information. The reality of modern life
10   increasingly requires that much of our daily activities are conducted online—Plaintiff Riganian and
11   the California Sub-Class members have no practical choice or ability but to conduct their daily lives
12   substantially in the digital world, connected to the Internet. The necessary engagement with the
13   digital world makes Plaintiff Riganian’s and the California Sub-Class members’ private lives
14   susceptible to unlawful observation and recording, capable of yielding a comprehensive and
15   intrusive chronicle of Plaintiff Riganian’s and the California Sub-Class members’ lives. If Plaintiff
16   Riganian and the California Sub-Class members cannot have a reasonable expectation of privacy in
17   the conduct of their lives online and the digital transmission of their personal information, they can
18   have no reasonable expectation of privacy for virtually any facet of their lives.
19          173.    LiveRamp, in violation of Plaintiff Riganian’s and the California Sub-Class
20   members’ reasonable expectation of privacy, intercepts, collects, tracks, and compiles their internet
21   activity and communications, and makes available for sale that data through third parties as well.
22          174.    The nature and volume of the data collected is such that LiveRamp’s practice of
23   compiling comprehensive identity profiles violates Plaintiff Riganian’s and the California Sub-Class
24   members’ reasonable expectation of privacy. Technological advances, such as LiveRamp’s use of
25   cookies, Client-Side Tags, and other means to track and compile internet activity and electronic
26   communications, provide LiveRamp with the means to assemble a comprehensive chronicle of
27   Plaintiff Riganian’s and the California Sub-Class members’ lives heretofore unseen. LiveRamp
28   collects and compiles personal information such as Plaintiff Riganian’s and the California Sub-Class

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 1   members’ names, postal addresses, email addresses, phone numbers, cookies, mobile device IDs,
 2   and web browsing information. Such information is “personal information” under California law,
 3   which defines personal information as including “[i]nternet or other electronic network activity
 4   information,” such as “browsing history, search history, and information regarding a consumer’s
 5   interaction with an internet website, application, or advertisement.” Cal. Civ. Code § 1798.140.
 6          175.    LiveRamp also collects and analyzes Plaintiff Riganian’s and the California Sub-
 7   Class members’ real-world offline activity and compiles computerized records of those activities.
 8   Plaintiff Riganian’s and the California Sub-Class members do not and cannot know which specific
 9   real-world offline activities LiveRamp may or may not be collecting and analyzing and adding to
10   the digital dossiers it compiles on them.
11          176.    LiveRamp’s conduct as described herein is highly offensive to a reasonable person
12   and constitutes an egregious breach of social norms, specifically including the following:
13                   a.      LiveRamp engages in dragnet-style collection and interception of Plaintiff
14           Riganian’s and the California Sub-Class members’ Internet activity, including their
15           communications with websites, without California Sub-Class members’ knowledge or
16           consent.
17                   b.      LiveRamp also collects details about Plaintiff Riganian’s and the California
18           Sub-Class members’ offline activities. By its very nature, Plaintiff Riganian and the
19           California Sub-Class members cannot be aware of or consent to this conduct.
20                   c.      LiveRamp creates comprehensive identity profiles based on this online and
21           offline data, which constitute precisely the sort of “cradle-to-grave profiles” the right to
22           privacy under the California Constitution was created to constrain.
23          177.    LiveRamp’s amassing of electronic information reflecting highly detailed aspects of
24   Plaintiff Riganian’s and the California Sub-Class members’ lives into dossiers, both directly and
25   through providing access to its Data Marketplace, for future or present use, is in and of itself a
26   violation of Plaintiff Riganian’s and the California Sub-Class members’ right to privacy in light of
27   the serious risk these dossiers pose to their autonomy. Additionally, these dossiers are and can be
28   used to further invade Plaintiff Riganian’s privacy, by, inter alia, allowing third parties to learn

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 1   intimate details of Plaintiff Riganian’s and the California Sub-Class members’ lives, and target them
 2   for advertising, political, and other purposes, as described herein, thereby harming them through the
 3   abrogation of their autonomy and their ability to control dissemination and use of information about
 4   them. Additionally, as described above, the social harms posed by LiveRamp’s conduct impair not
 5   only individual autonomy, but the collective autonomy of the California Sub-Class members, and
 6   autonomy is essential to the proper functioning of democratic republics.
 7          178.    Privacy advocates have repeatedly decried LiveRamp’s practices as harmful and
 8   highly offensive. LiveRamp’s conduct described herein has been the subject of scathing criticisms
 9   by government officials, academics, and technology journalists and of formal complaints to
10   government authorities in the UK and France by privacy advocates.
11          179.    Legislators have recognized the pernicious and privacy-invasive nature of
12   LiveRamp’s conduct as described herein. Senator Wyden, in urging the Consumer Financial
13   Protection Bureau to take action against data brokers, stated that “[d]ata brokers are serving as shady
14   middlemen to sell [consumers’] personal information without any legal protections” and that selling
15   consumers’ personal information and “giving them no choice in the matter, is an egregious abuse of
16   consumers’ privacy.” 174 The FTC has also warned consumers about the “shadowy” “data broker
17   ecosystem” where “companies have a profit motive to share data at an unprecedented scale and
18   granularity,” including a “staggering” amount of “highly personal information that people choose
19   not to disclose even to family, friends, or colleagues.” 175
20          180.    LiveRamp has violated Plaintiff Riganian’s and the California Sub-Class members’
21   reasonable expectation of privacy via LiveRamp’s review, analysis, dissemination, and subsequent
22   uses of Plaintiff Riganian’s and California Sub-Class members’ internet activity through
23   LiveRamp’s RampID identity graph system and Data Marketplace.
24
     174
         December 8, 2021 Letter from Sen. Ron Wyden Letter to Rohit Chopra, Dir. of the Consumer
25   Financial Protection Bureau, available at
     https://www.wyden.senate.gov/imo/media/doc/CFPB%20Letter%20120821.pdf.
26   175
         Kristin Cohen, Location, Health, and Other Sensitive Information: FTC Committed to Fully
     Enforcing the law Against Illegal Use and Sharing of Highly Sensitive Data, FEDERAL TRADE
27   COMMISSION (July 11, 2022), https://www.ftc.gov/business-guidance/blog/2022/07/location-
     health-other-sensitive-information-ftc-committed-fully-enforcing-law-against-illegal-use
28   [https://perma.cc/V6XT-85YX].
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 1          181.    LiveRamp’s practices as alleged herein violate Plaintiff Riganian’s and the California
 2   Sub-Class members’ reasonable expectation of privacy, are highly offensive to a reasonable person,
 3   and constitute an egregious breach of the social norms.
 4          182.    LiveRamp’s violation of various state and federal statutes, and its actions to enable
 5   others to violate various state and federal statutes relating to privacy protections are each an
 6   independent and egregious breach of social norms.
 7          183.    The California Constitution created an inalienable right to be free from pervasive
 8   electronic surveillance; Plaintiff Riganian and the California Sub-Class members are under no
 9   obligation to “opt out” of such violations of their constitutional privacy rights to stop LiveRamp’s
10   intrusions into their daily lives—that right inheres automatically for every California Sub-Class
11   member.
12          184.    The right to privacy in California’s constitution creates a right of action for California
13   residents against private entities such as LiveRamp. LiveRamp lacks a legitimate business interest
14   in stockpiling and compiling the personal information of Plaintiff Riganian and the California Sub-
15   Class members.
16          185.    Plaintiff Riganian and the California Sub-Class members have been damaged by
17   LiveRamp’s invasion of their privacy and are entitled to just compensation and injunctive relief.
18                                      Second Cause of Action
                        Intrusion Upon Seclusion Under California Common Law
19                                (on behalf of the United States Class)
20          186.    Plaintiffs repeat and reallege all preceding paragraphs contained herein.
21          187.    California common law on intrusion upon seclusion is applicable for all members of
22   the United States Class.
23          188.    A plaintiff asserting a claim for intrusion upon seclusion must plead (1) intrusion into
24   a private place, conversation, or matter; (2) in a manner highly offensive to a reasonable person.
25          189.    Plaintiffs and the United States Class members maintain a reasonable expectation of
26   privacy in the conduct of their lives, including their Internet browsing activities and in their
27   electronic communications and exchange of personal information. The reality of modern life
28   increasingly requires that much of our daily activities are conducted online—Plaintiffs and the

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 1   United States Class members have no practical choice or ability but to conduct their daily lives
 2   substantially in the digital world, connected to the Internet. The necessary engagement with the
 3   digital world makes Plaintiffs’ and the United States Class members’ private lives susceptible to
 4   unlawful observation and recording that is capable of yielding a comprehensive and intrusive
 5   chronicle of Plaintiffs’ and the United States Class members’ lives. If Plaintiffs and the United States
 6   Class members cannot have a reasonable expectation of privacy in the conduct of their lives online
 7   and the digital transmission of their personal information, they can have no reasonable expectation
 8   of privacy for virtually any facet of their lives.
 9           190.    LiveRamp, in violation of Plaintiffs’ and the United States Class members’
10   reasonable expectation of privacy intercepts, collects, tracks, and compiles their internet activity and
11   communications, and makes available for sale that data through third parties as well.
12           191.    The nature and volume of the data collected is such that LiveRamp’s practice of
13   compiling comprehensive identity profiles violates Plaintiffs’ and the United States Class members’
14   reasonable expectation of privacy. Technological advances, such as LiveRamp’s use of cookies,
15   Client-Side Tags, and other means to track and compile internet activity and electronic
16   communications, provide LiveRamp with the means to assemble a comprehensive chronicle of
17   Plaintiffs’ and the United States Class members’ lives heretofore unseen. LiveRamp collects and
18   compiles personal information such as Plaintiffs’ and the Class members’ names, postal addresses,
19   email addresses, phone numbers, cookies, mobile device IDs, and web browsing information. Such
20   information is “personal information” under California law, which defines personal information as
21   including “Internet or other electronic network activity information,” such as “browsing history,
22   search history, and information regarding a consumer’s interaction with an internet website,
23   application, or advertisement.” Cal. Civ. Code § 1798.140.
24           192.    LiveRamp also collects and analyzes Plaintiffs’ and the United States Class
25   members’ real-world offline activity and compiles computerized records of those activities.
26   Plaintiffs and the United States Class members do not and cannot know which specific real-world
27   offline activities LiveRamp may or may not be collecting and analyzing and adding to the digital
28   dossiers it compiles on them.

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 1          193.    LiveRamp’s conduct as described herein is highly offensive to a reasonable person
 2   and constitutes an egregious breach of social norms, specifically including the following:
 3                   a.      LiveRamp engages in dragnet-style collection and interception of Plaintiffs’
 4           and Class members’ Internet activity, including their communications with websites,
 5           without Class members’ knowledge or consent.
 6                   b.      LiveRamp also collects details about Plaintiffs’ and the United States Class
 7           Members’ offline activities. By its very nature, Plaintiffs and Class members cannot be
 8           aware of or consent to this conduct.
 9                   c.      LiveRamp creates comprehensive identity profiles based on this online and
10           offline data, which constitute precisely the sort of “cradle-to-grave profiles” the right to
11           privacy under the California Constitution was created to constrain.
12                   d.      LiveRamp violates federal and state statutes designed to protect Class
13           Members’ privacy, including but not limited to the causes of action alleged herein.
14          194.    LiveRamp’s amassing of electronic information reflecting highly detailed aspects of
15   Plaintiffs’ and the United States Class Members’ lives into dossiers, both directly and through
16   providing access to its Data Marketplace, for future or present use, is in and of itself a violation of
17   Plaintiffs’ and the United States Class members’ right to privacy in light of the serious risk these
18   dossiers pose to their autonomy. Additionally, these dossiers are and can be used to further invade
19   Plaintiffs’ and the United States Class Members’ privacy, by, inter alia, allowing third parties to
20   learn intimate details of Plaintiffs’ and the United States Class Members’ lives, and target them for
21   advertising, political, and other purposes, as described herein, thereby harming them through the
22   abrogation of their autonomy and their ability to control the dissemination and use of information
23   about them. Additionally, as described above, the social harms posed by LiveRamp’s conduct impair
24   not only individual autonomy, but the collective autonomy of the United States Class members, and
25   autonomy is essential to the proper functioning of democratic republics.
26          195.    Privacy advocates have repeatedly decried LiveRamp’s practices as harmful and
27   highly offensive. LiveRamp’s conduct described herein has been the subject of scathing criticisms
28

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 1   by government officials, academics, and technology journalists and of formal complaints to
 2   government authorities in the UK and France by privacy advocates.
 3          196.    Legislators have recognized the pernicious and privacy-invasive nature of
 4   LiveRamp’s conduct as described herein. Senator Wyden, in urging the Consumer Financial
 5   Protection Bureau to take action against data brokers, stated that “[d]ata brokers are serving as shady
 6   middlemen to sell [consumers’] personal information without any legal protections” and that selling
 7   consumers’ personal information and “giving them no choice in the matter, is an egregious abuse of
 8   consumers’ privacy.” 176 The FTC has also warned consumers about the “shadowy” “data broker
 9   ecosystem” where “companies have a profit motive to share data at an unprecedented scale and
10   granularity,” including a “staggering” amount of “highly personal information that people choose
11   not to disclose even to family, friends, or colleagues.” 177
12          197.    LiveRamp has violated Plaintiffs’ and the United States Class members’ reasonable
13   expectation of privacy via LiveRamp’s review, analysis, dissemination, and subsequent uses of
14   Plaintiffs’ and Class members’ internet activity through LiveRamp’s RampID identity graph system
15   and Data Marketplace.
16          198.    LiveRamp’s practices as alleged herein violate Plaintiffs’ and the United States Class
17   members’ reasonable expectation of privacy, are highly offensive to a reasonable person, and
18   constitute an egregious breach of the social norms.
19          199.    LiveRamp lacks a legitimate business interest in stockpiling and compiling the
20   personal information of Plaintiffs and the United States Class members.
21          200.    Plaintiffs and the United States Class members have been damaged by LiveRamp’s
22   invasion of their privacy and are entitled to just compensation and injunctive relief.
23

24
     176
         December 8, 2021 Letter from Sen. Ron Wyden Letter to Rohit Chopra, Dir. of the Consumer
25   Financial Protection Bureau, available at
     https://www.wyden.senate.gov/imo/media/doc/CFPB%20Letter%20120821.pdf.
26   177
         Kristin Cohen, Location, Health, and Other Sensitive Information: FTC Committed to Fully
     Enforcing the law Against Illegal Use and Sharing of Highly Sensitive Data, FEDERAL TRADE
27   COMMISSION (July 11, 2022), https://www.ftc.gov/business-guidance/blog/2022/07/location-
     health-other-sensitive-information-ftc-committed-fully-enforcing-law-against-illegal-use
28   [https://perma.cc/V6XT-85YX].
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 1            201.   As a result of LiveRamp’s actions, Plaintiffs and the United States Class members
 2   seek injunctive relief, in the form of LiveRamp’s cessation of tracking practices in violation of
 3   Plaintiffs’ and Class members’ rights, and destruction of all personal information obtained in
 4   violation of Plaintiffs’ and Class members’ rights.
 5            202.   As a result of LiveRamp’s actions, Plaintiffs and the United States Class members
 6   seek nominal and punitive damages in an amount to be determined at trial. Plaintiffs and Class
 7   members seek punitive damages because LiveRamp’s actions—which were malicious, oppressive,
 8   and willful—were calculated to injure Plaintiffs and the United States Class members and made in
 9   conscious disregard of their rights. Punitive damages are warranted to deter LiveRamp from
10   engaging in future misconduct.
11            203.   Plaintiffs and the United States Class members seek restitution for the unjust
12   enrichment obtained by LiveRamp as a result of unlawfully collecting Plaintiffs’ and the United
13   States Class members’ personal information. These intrusions are highly offensive to a reasonable
14   person. Further, the extent of the intrusion cannot be fully known, as the nature of privacy invasion
15   involves sharing Plaintiffs’ and the United States Class members’ personal information with
16   potentially countless third parties, known and unknown, for undisclosed and potentially unknowable
17   purposes, in perpetuity. Also supporting the highly offensive nature of LiveRamp’s conduct is the
18   fact that LiveRamp’s principal goal is and was to surreptitiously monitor Plaintiffs and the United
19   States Class members and to allow third parties to do the same.
20            204.   The threat posed by advancements in technology and the ability to create detailed
21   dossiers therefrom was recognized half a century ago by Professor Arthur R. Miller. 178 With
22   monumental increases in technologies, Professor Miller’s alarm 50 years ago about technology’s
23   assault on privacy has now taken on special urgency: precisely the concerns he warned of have come
24   to fruition in LiveRamp’s conduct. Through this lawsuit, Plaintiffs and the United States Class
25   members seek to vindicate their common law right against LiveRamp’s ongoing assault on their
26   privacy.
27

28   178
           See generally Arthur R. Miller, The Assault on Privacy 24–54 (1971).
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 1                                        Third Cause of Action
            Violation of the California Invasion of Privacy Act, Cal. Penal Code §§ 630 to 638
 2                            (on behalf of the ECPA and CIPA Sub-Class)
 3           205.    Plaintiffs and the ECPA and CIPA Sub-Class members repeat and reallege all

 4   preceding paragraphs contained herein.

 5           206.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code

 6   §§ 630 to 638. The Act begins with its statement of purpose:

 7            The Legislature hereby declares that advances in science and technology have led
              to the development of new devices and techniques for the purpose of eavesdropping
 8            upon private communications and that the invasion of privacy resulting from the
              continual and increasing use of such devices and techniques has created a serious
 9            threat to the free exercise of personal liberties and cannot be tolerated in a free and
              civilized society. The Legislature by this chapter intends to protect the right of
10            privacy of the people of this state.
11    Cal. Penal Code § 630 (“Legislative declaration and intent”).
12    California Penal Code § 631

13           207.    California Penal Code § 631(a) prohibits, in pertinent part:

14            Any person who, by means of any machine, instrument, or contrivance, or in any
              other manner . . . willfully and without the consent of all parties to the
15            communication, or in any unauthorized manner, reads, or attempts to read, or to
              learn the contents or meaning of any message, report, or communication while the
16            same is in transit or passing over any wire, line, or cable, or is being sent from, or
              received at any place within this state; or who uses, or attempts to use, in any
17            manner, or for any purpose, or to communicate in any way, any information so
              obtained, or who aids, agrees with, employs, or conspires with any person or persons
18            to lawfully do, or permit, or cause to be done any of the acts or things mentioned
              above in this section. . . .
19
      Under this section of CIPA, a defendant must show it had the consent of all parties to a
20
      communication and that its actions are not done “in any unauthorized manner.” The California
21
      Supreme Court has emphasized CIPA’s privacy-protective objective. See Flanagan v. Flanagan,
22
      27 Cal. 4th 766, 769, 41 P.3d 575, 577 (2002) (“The purpose of [CIPA] was to protect the right of
23
      privacy by, among other things, requiring that all parties consent to a recording of their
24
      conversation.”).
25
             208.    Speaker of the California Assembly, Jesse Unruh, who introduced CIPA, urged that
26
     the law “represents an important advance in California law protecting the inherent rights of our
27
     citizens to privacy in their personal affairs. It is far stronger than the laws of many states in this field,
28

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 1   and much tougher than the proposed federal eavesdropping legislation.” 179 He further emphasized
 2   that the law would act as “a powerful deterrent to those who wiretap illegally for profit.” 180
 3          209.     LiveRamp deploys “Client-Side Tags” and “Enhanced Client-Side Tags” on websites
 4   to gather data on consumers’ online activities. LiveRamp’s Client-Side Tags automatically
 5   “capture,” or intercept, the URLs of the web pages visited, the exact date and time of the visit, and
 6   communications with websites such as “page views,” “ad views,” “adding items to cart,” or
 7   “completing a transaction.” LiveRamp deploys these tags by surreptitiously using “image tags,” or
 8   pixels, to insert code into Plaintiffs’ browser that intercepts the contents of Plaintiffs’ and ECPA
 9   and CIPA Sub-Class members’ communications with websites while those communications are in
10   transit. 181 This captured data then goes through LiveRamp’s recognition process to match the
11   website visitors to their specific RampIDs and to link that data with LiveRamp’s persistent identity
12   profile on Plaintiffs and ECPA and CIPA Sub-Class members. At all relevant times, LiveRamp’s
13   tracking and interceptions of Plaintiffs’ and ECPA and CIPA Sub-Class members’ internet
14   communications was without authorization and consent from Plaintiffs and ECPA and CIPA Sub-
15   Class members. The interception by LiveRamp in the aforementioned circumstances were unlawful
16   and tortious.
17           210.    LiveRamp’s interception of communications also occurred in a manner that was not
18   authorized by Plaintiffs, who did not consent to LiveRamp’s tracking of their identity and
19   communications content across broad swaths of the Internet.
20           211.    The communications intercepted by LiveRamp include “contents” of electronic
21   communications made from Plaintiffs and ECPA and CIPA Sub-Class members to websites other
22   than those operated by LiveRamp in the form of:
23                   a.      the URL strings with which Internet users are viewing and interacting with;
24           and,
25   179
         July 31, 1967, Letter from Rep. Jesse M. Unruh to then California governor Ronald Reagan
     urging him to sign CIPA into law.
26
     180
         Id.
27   181
         Implementation Methods for Client-Side Tags, LIVERAMP,
     https://docs.liveramp.com/identity/en/implementation-methods-for-client-side-tags.html
28   [https://perma.cc/S9CC-SEZ4].
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 1                   b.     the precise activity that users are engaged in, e.g., “adding items to a cart”;
 2           “completing a transaction.”
 3          212.    The URLs being browsed by the Internet user constitute contents of communications
 4   as they encompass the substance, purpose, or meaning of a user’s Internet communication. Likewise,
 5   “adding items to a cart” and “completing a transaction” constitute contents of communications, as
 6   they communicate the user’s intent to a websites. For example, adding a book to a cart on a website
 7   is functionally equivalent to calling a bookstore and asking to put that book on hold. There is no
 8   question that wiretap of such a phone conversation would intercept the “contents” of a
 9   communication. Actions demonstrating purchase intent on websites are no different.
10          213.    On information and belief, LiveRamp intercepted detailed URLs of webpages
11   Plaintiffs viewed, including URLs revealing searches they performed, and communications with
12   websites related to purchases or intended purchases, including product page visits and adding items
13   to a cart. Examples of webpages that Plaintiffs interacted with for which the contents of their
14   communications were intercepted by LiveRamp include, but are not limited, to those listed in
15   paragraphs 26 and 37 above.
16          214.    LiveRamp intercepted detailed URLs containing the contents of communications
17   between Plaintiffs and websites while such communications were in transit from the website to the
18   Plaintiffs. For example, as described above at paragraph 22–24, LiveRamp intercepted full string
19   URLs revealing medications Plaintiff Riganian viewed, which constitute the contents of
20   communications. LiveRamp’s CST and eCST “automatically captur[e]” the “URL of the page
21   where the tag was placed.” 182        Such acquisition was contemporaneous with transmission:
22   LiveRamp’s pixels “capture” communications being sent from websites to users’ browsers
23   simultaneously with the user’s browser receiving it. 183 LiveRamp’s tracking technologies cause
24   Plaintiffs’ devices to send a copy of the content of their communications (e.g., full string URLs) to
25
     182
         Data Automatically Captured for Client-Side Tags, LIVERAMP,
26   https://docs.liveramp.com/identity/en/data-automatically-captured-for-client-side-tags.html
     [https://perma.cc/LA5R-FPDA]
27   183
         Implementation Methods for Client-Side Tags, LIVERAMP,
     https://docs.liveramp.com/identity/en/implementation-methods-for-client-side-tags.html
28   [https://perma.cc/S9CC-SEZ4].
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 1   LiveRamp while their devices continue to send and receive the at-issue communications and before
 2   the requested page is completely loaded on their devices.
 3          215.    On information and belief, LiveRamp intercepted the contents of Plaintiffs’
 4   communications with numerous websites in a similar manner and through various apps, including
 5   but not limited to those listed in paragraphs 26 and 37 above.
 6          216.    Additionally, LiveRamp’s “ATS.js” JavaScript Code, implemented through its
 7   Enhanced Client-Side Tag, 184 intercepts personal information, such as email addresses entered into
 8   forms when signing in to LiveRamp “partner” websites, phone numbers, and other customer
 9   identifiers communicated by Plaintiffs and Class members to websites, and uses that information to
10   create a universal identifier that is unambiguously linked to a specific person for use for targeting
11   and manipulation by LiveRamp’s clients.
12          217.    The ATS.js JavaScript code uses so-called “event listeners” to detect specific types
13   of contents of communications from Plaintiffs and Class members to websites and intercept those
14   contents and simultaneously transmit them to LiveRamp. Specifically, once ATS.js has been
15   deployed on a website or in an app, ATS.js listens for and intercepts email addresses, phone
16   numbers, or other customer identifiers communicated to that website or app. The ATS.js JavaScript
17   code intercepts communications while in transit, once user inputs are made but before the
18   communications are received by the webpage.
19          218.    LiveRamp’s “ATS Mobile SDK” includes largely identical functionality that is
20   deployed on mobile devices. On information and belief, and on the basis of the information
21   contained in the “mobile_pel_requests” file sent to Plaintiff Riganian, LiveRamp’s ATS Mobile
22   SDK was deployed on Plaintiff Riganian’s devices and intercepted the contents of her
23   communications with mobile applications on her phone without her consent, as described herein.
24          219.    On information and belief, LiveRamp intercepted the email addresses and phone
25   numbers Plaintiff Riganian communicated to webpages and mobile applications through the use of
26
     184
         “The eCST module for ATS.js implementation of the Enhanced Client-Side Tag can be placed
27   on web and mobile web owned and operated properties.” LiveRamp’s Client-Side Tags, LIVERAMP,
     https://docs.liveramp.com/safe-haven/en/implementing-liveramp-s-client-side-tag.html
28   [https://perma.cc/8T3Z-3HEP].
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 1   the ATS.js JavasScript and ATS Mobile SDK. These email addresses are “contents” when sent as
 2   part of a sign-in. Examples of webpages that Plaintiff Riganian interacted with for which the contents
 3   of their communications were intercepted by LiveRamp via these ATS trackers include, but are not
 4   limited, to those listed in paragraph 26 above.
 5           220.    LiveRamp’s non-consensual tracking of Plaintiffs’ and ECPA and CIPA Sub-Class
 6   members’ internet communications was designed to attempt to learn at least some meaning of the
 7   content in the URLs, their email addresses and phone numbers input during sign-in processes, and
 8   other data interception.
 9           221.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under
10   the CIPA, and even if they do not, LiveRamp’s deliberate and admittedly purposeful scheme that
11   facilitated its interceptions falls under the broad statutory catch-all category of “any other manner”:
12                    a.        The computer codes and programs LiveRamp used to track Plaintiffs’ and
13            ECPA and CIPA Sub-Class members’ communications;
14                    b.        Plaintiffs’ and ECPA and CIPA Sub-Class members’ browsers and mobile
15            applications;
16                    c.        Plaintiffs’ and ECPA and CIPA Sub-Class members’ computing and mobile
17            devices;
18                    d.        The computer codes and programs used by LiveRamp to effectuate its
19            tracking and interception of Plaintiffs and ECPA and CIPA Sub-Class members’; and
20                    e.        The plan LiveRamp carried out to effectuate its tracking and interception of
21            Plaintiffs and ECPA and CIPA Sub-Class members’ communications.
22           222.    Plaintiffs and ECPA and CIPA Sub-Class members have suffered loss by reason of
23   these violations, including, but not limited to, violations of their rights to privacy and loss of value
24   in their personally identifiable information.
25           223.    Pursuant to California Penal Code § 637.2, Plaintiff Riganian and ECPA and CIPA
26   Sub-Class members have been injured by the violations of California Penal Code § 631, and each
27   seek damages for the greater of $5,000 or three times the amount of actual damages, as well as
28   injunctive relief.

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 1   California Penal Code § 638.51
 2          224.    California Penal Code Section 638.50(b) defines a “pen register” as “a device or
 3   process that records or decodes dialing, routing, addressing, or signaling information transmitted by
 4   an instrument or facility from which a wire or electronic communication is transmitted, but not the
 5   contents of a communication.”
 6          225.    California Penal Code Section 638.51 prohibits any person from using a pen register
 7   without a court order.
 8          226.    Courts have repeatedly recognized that in the internet era pen registers can take the
 9   form of software and, as a result, private companies and persons have the ability gather the same
10   electronic information as law enforcement. The California legislature does not limit its prohibition
11   on installing pen registers to law enforcement.
12          227.    LiveRamp’s Client-Side Tags, Enhanced Client-Side Tags, and ATS.js JavaScript
13   code and SDK functionality constitute “pen registers” because they are “devices” or “processes”
14   that “record” “addressing or signaling information,”—such as Plaintiffs’ and ECPA and CIPA Sub-
15   Class members’ IP addresses and electronic device identification numbers including Identifiers for
16   Advertisers (IDFAs) and Android Advertising IDs (AAIDs) as well as cookie IDs—from the
17   electronic communications transmitted by their smartphones and desktop computers. To the extent
18   the URLs, email addresses, and phone numbers intercepted by LiveRamp’s Client-Side Tags,
19   Enhanced Client-Side Tags, and ATS.js JavaScript code and SDK functionality do not constitute
20   contents of communications, they constitute routing, addressing, or signaling data.
21          228.    LiveRamp was not authorized by any court order to use a pen register to record
22   Plaintiffs; and ECPA and CIPA Sub-Class members’ routing, addressing, or signaling information.
23          229.    LiveRamp uses pen registers to collect such information en masse from class
24   members as a non-party to their communications with websites, for the express purpose of creating
25   comprehensive identity profiles on Plaintiffs and ECPA and CIPA Sub-Class members and
26   facilitating the tracking of all of their online activity and making that information available to third
27   parties. The interception of phone numbers and email addresses is done for the express purpose of
28   personally identifying Plaintiffs and ECPA and CIPA Sub-Class members and using that personally

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 1   identifying information to link Plaintiffs and ECPA and CIPA Sub-Class members’ online activities
 2   to the permanent profiles LiveRamp maintains on them. The data LiveRamp collects and aggregates
 3   for use with its RampID through its pen registers constitutes “unique fingerprinting,” thereby
 4   providing unique information normally within the domain of law enforcement officers with a
 5   warrant.
 6          230.       As a direct and proximate result of LiveRamp’s conduct, Plaintiffs and ECPA and
 7   CIPA Sub-Class members suffered losses and were damaged in an amount to be determined at trial.
 8                                          Fourth Cause of Action
                        Violation of the Federal Wiretap Act, 18 U.S.C. § 2510, et. seq.
 9                              (on behalf of the ECPA and CIPA Sub-Class)
10              231.   Plaintiffs repeat and reallege all preceding paragraphs contained herein.
11              232.   The Federal Wiretap Act, as amended by the Electronic Communications Privacy
12   Act of 1986 (ECPA), prohibits the intentional interception of the contents any wire, oral, or
13   electronic communication through the use of a device. 18 U.S.C. § 2511.
14              233.   The Wiretap Act protects both the sending and receipt of internet communications.
15   The Act was amended by ECPA because it had “not kept pace with the development of
16   communications and computer technology [or] changes in the structure of the telecommunications
17   industry.” 185 In introducing the bill that became the ECPA, Senator Patrick Leahy explained that
18   “the law must protect private communications from interception by an eavesdropper, whether the
19   eavesdropper is a corporate spy, a police officer without probable cause, or just a plain snoop.” 186
20   ECPA received strong support from privacy advocates, law enforcement and the technology
21   industry. Industry advocates pointed out that “the protections in [the ECPA] should, if broadly
22   applied, prevent customers from losing their privacy rights when they resort, as they must in this
23   day and age, to third-party processors and transmitters of data.” 187
24

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26   185
         Electronic Communications Privacy Act, Sen. Rep. 99-541 at 2 (1986).
     186
27       Congressional Record, Senate, September 19, 1985 at 24365-71.
     187
         Electronic Communications Privacy Act, Hearing Before the House Committee on the Judiciary
28   on H.R. 3378 at 74.
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 1           234.    18 U.S.C. § 2520(a) provides a private right of action to any person whose “wire,
 2   oral, or electronic communication is intercepted, disclosed, or intentionally used” in violation of
 3   the Wiretap Act.
 4           235.    As described above, LiveRamp intercepts Plaintiffs and ECPA and CIPA Sub-Class
 5   members’ communications with websites by deploying “Client-Side Tags” and “Enhanced Client-
 6   Side Tags” on websites to gather data on consumers’ online activities.
 7           236.    LiveRamp’s actions in intercepting and tracking user communications while they
 8   were browsing the internet was intentional. On information and belief, LiveRamp is aware that it
 9   is intercepting communications in these circumstances and has taken no remedial action.
10           237.    LiveRamp’s interception of internet communications that Plaintiffs and ECPA and
11   CIPA Sub-Class members were sending and receiving was done contemporaneously with the
12   sending and receipt of those communications.
13           238.    The communications intercepted by LiveRamp include “contents” of electronic
14   communications made from Plaintiffs and ECPA and CIPA Sub-Class members to websites other
15   than those operated by LiveRamp in the form of:
16                   a.     the full URL strings with which Internet users are viewing and interacting
17           with, as well as the referrer URL; and
18                   b.     the precise activity that users are engaged in, e.g., “adding items to a cart”;
19           and “completing a transaction.”
20          239.    The detailed URLs being browsed by the Internet user and data entered by the user
21   into forms on the website constitute contents of communications as they encompass the substance,
22   purpose, or meaning of a users’ Internet communication. Likewise, “adding items to a cart” and
23   “completing a transaction” constitute contents of communications, as they communicate the user’s
24   intent to a website. For example, adding a book to a cart on a website is functionally equivalent to
25   calling a bookstore and asking to put that book on hold. There is no question that a wiretap of such
26   a phone conversation would intercept the “contents” of a communication. Actions demonstrating
27   purchase intent on websites are no different.
28

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 1          240.    LiveRamp’s “ATS.js” JavaScript Code, implemented through its Enhanced Client-
 2   Side Tag, 188 intercepts personal information, such as email addresses and phones, communicated by
 3   Class members to websites, and uses that information to create a universal identifier that is
 4   unambiguously linked to a specific person for use for targeting and manipulation by LiveRamp’s
 5   clients. The ATS.js JavaScript Code employs so-called “event listeners” to eavesdrop on Class
 6   members’ sensitive communications with websites—specifically LiveRamp’s code intercepts
 7   identifiers such as emails addresses or phone numbers that class members communicate to websites.
 8          241.    LiveRamp’s “ATS Mobile SDK” includes largely identical functionality that is
 9   deployed on mobile devices. On information and belief, and on the basis of the information
10   contained in the “mobile_pel_requests” file sent to Plaintiff Riganian, LiveRamp’s ATS Mobile
11   SDK was deployed on Plaintiff Riganian’s devices and intercepted the contents of her
12   communications with mobile applications on her phone without her consent, as described herein.
13          242.    On information and belief, LiveRamp intercepted the email addresses and phone
14   numbers Plaintiffs Riganian and Spurgeon communicated to webpages and mobile applications
15   through the use of the ATS.js JavaScript and ATS Mobile SDK. These email addresses are
16   “contents” when sent as part of a sign-in. Examples of webpages that Plaintiff Riganian interacted
17   with for which the contents of their communications were intercepted by LiveRamp via these ATS
18   trackers include, but are not limited to, a subset of those listed in paragraphs 26 and 37 above.
19          243.    As soon as LiveRamp has captured a class member’s email address and phone
20   number and linked that browsing session to its internal profile of the user in its systems, that user’s
21   identity becomes immediately available to be broadcast to tens of thousands of participants in the
22   “Real-Time Bidding” ecosystem, which allows for real-time targeting and manipulation of class
23   members.
24          244.    Plaintiffs and ECPA and CIPA Sub-Class members do not, by virtue of simply
25   signing in to services that they use throughout the course of their daily lives, consent to the creation
26
     188
        “The eCST module for ATS.js implementation of the Enhanced Client-Side Tag can be placed
27   on web and mobile web owned and operated properties.” LiveRamp’s Client-Side Tags,
     LIVERAMP, https://docs.liveramp.com/safe-haven/en/implementing-liveramp-s-client-side-
28   tag.html [https://perma.cc/8T3Z-3HEP].
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 1   of an unavoidable and permanent internet identification number that follows them throughout their
 2   lives and that can be used by commercial or political actors to surveil and manipulate them.
 3          245.    Security researchers have determined that LiveRamp is the most prolific third-party
 4   exfiltrator of email addresses from websites in the United States, with trackers on such prominent
 5   websites as WebMD and Fox News. 189
 6          246.    On information and belief, LiveRamp intercepted detailed URLs of web pages
 7   Plaintiffs viewed, including URLs revealing searches Plaintiffs performed, and communications
 8   with websites related to purchases or intended purchases, including product page visits, purchase
 9   intent signals or add-to-cart actions.
10           247.    The transmission of data between Plaintiffs and ECPA and CIPA Sub-Class
11   members on the one hand and the websites on which LiveRamp tracked and intercepted their
12   communications on the other, without authorization were “transfer[s] of signs, signals, writing, . .
13   . data, [and] intelligence of [some] nature transmitted in whole or in part by a wire, radio,
14   electromagnetic, photoelectronic, or photooptical system that affects interstate commerce[,]” and
15   were therefore “electronic communications” within the meaning of 18 U.S.C. § 2510(12).
16           248.    The following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):
17                   a.      The computer codes and programs LiveRamp used to track Plaintiffs and
18           ECPA and CIPA Sub-Class members’ communications, including JavaScript code;
19                   b.      Plaintiffs’ and ECPA and CIPA Sub-Class members’ browsers and mobile
20           applications;
21                   c.      Plaintiffs’ and ECPA and CIPA Sub-Class members’ computing and mobile
22           devices;
23                   d.      The computer codes and programs used by LiveRamp to effectuate its
24           tracking and interception of Plaintiffs’ and Class members’ communications; and
25

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27   189
        Asuman Senol et al., Leaky forms: A study of email and password exfiltration before form
     submission, 31st USENIX Security Symposium (USENIX Security 22) (2022) (pp. 1813-1830),
28   https://www.usenix.org/system/files/sec22-senol.pdf [https://perma.cc/DA7D-PWCX].
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 1                   e.     The plan LiveRamp carried out to effectuate its tracking and interception of
 2           Plaintiffs’ and ECPA and CIPA Sub-Class members’ communications while browsing the
 3           internet.
 4           249.    LiveRamp, in its conduct alleged here, was not providing an “electronic
 5   communication service,” as that term is defined in 18 U.S.C. § 2510(12) and is used elsewhere in
 6   the Electronic Communications Surveillance Act.
 7           250.    LiveRamp was not acting as an Internet Service Provider (ISP).
 8           251.    LiveRamp was not an authorized party to the communication, because Plaintiffs and
 9   ECPA and CIPA Sub-Class members were unaware of LiveRamp’s interception of their
10   communications with websites and did not knowingly send any communication to LiveRamp.
11   LiveRamp could not manufacture its own status as a party to Plaintiffs’ and ECPA and CIPA Sub-
12   Class members’ communications with others by surreptitiously intercepting those communications.
13           252.    As described above, the communications between Plaintiffs and ECPA and CIPA
14   Sub-Class members on the one hand, and websites on the other, were simultaneous to, but separate
15   from, the channel through which LiveRamp acquired the contents of those communications; and
16   involved the re-direction of the communications content to LiveRamp.
17          253.     The interception by LiveRamp in the aforementioned circumstances was performed
18   for the secondary and independent purpose of committing tortious acts in violation of the law,
19   specifically:
20                   a.     Violating the California Constitution’s prohibition on the compiling of
21           electronic dossiers, which dossiers are enriched by the contents of the communications
22           intercepted by LiveRamp, as described herein; and
23                   b.     Violating the tort of intrusion upon seclusion by using the contents of the
24           intercepted communications to create detailed profiles on Plaintiffs and ECPA and CIPA
25           Sub-Class members, and then making those profiles available through LiveRamp’s RampID
26           and Data Marketplace, as described herein.
27          254.     On information and belief, LiveRamp was aware that its conduct was tortious and
28   intended to violate Plaintiffs’ and ECPA and CIPA Sub-Class members’ privacy and other rights.

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 1          255.    The 1) compiling of electronic dossiers, which dossiers are enriched by the contents
 2   of the communications intercepted by LiveRamp in violation of the California Constitution, and 2)
 3   use of the contents of the intercepted communications to facilitate the creation of detailed profiles
 4   on Plaintiffs and ECPA and CIPA Sub-Class members and then make those profiles available
 5   through LiveRamp’s RampID and Data Marketplace, in violation the tort of intrusion upon
 6   seclusion, are illegitimate purposes under the ECPA.
 7          256.    Consent is not a defense where a “communication is intercepted for the purpose of
 8   committing any criminal or tortious act.” 18 U.S.C. § 2511(2)(d). Subsequent use or disclosure of
 9   the contents of the intercepted communications for the purpose of further invading Plaintiffs’ and
10   ECPA and CIPA Sub-Class members’ privacy is a tortious act that satisfies this exception to consent.
11   In addition to having the intent of profiting from the sale of Plaintiffs’ and ECPA and CIPA Sub-
12   Class members’ personal information, LiveRamp knowingly and intentionally invaded Plaintiffs’
13   privacy through intercepting their communications and using the fruits of those interceptions to
14   further invade Plaintiffs’ and ECPA and CIPA Sub-Class members’ privacy through pervasive
15   identity surveillance and the facilitation of the purchase and sale of their detailed personal
16   information through the Data Marketplace.
17           257.    After intercepting the communications, LiveRamp then used the contents of the
18   communications knowing or having reason to know that such information was obtained through
19   the interception of electronic communications in violation of 18 U.S.C. § 2511(1)(a).
20          258.    As a result of the above actions and pursuant to 18 U.S.C. § 2520, the Court may
21   assess statutory damages to Plaintiffs and ECPA and CIPA Sub-Class members; injunctive and
22   declaratory relief; punitive damages in an amount to be determined by a jury, but sufficient to
23   prevent the same or similar conduct by LiveRamp in the future; and reasonable attorney’s fees and
24   other litigation costs reasonably incurred.
25                                        Fifth Cause of Action
                          Unjust Enrichment under California Common Law
26             (on behalf of the United States Class, or in the alternative on behalf of the
                                         California Sub-Class)
27

28          259.    Plaintiffs repeat and reallege all preceding paragraphs contained herein.

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 1           260.   California common law on unjust enrichment is applicable for all members of the
 2   United States Class.
 3           261.   In the alternative, Plaintiffs allege unjust enrichment under California law on behalf
 4   of the California Sub-Class.
 5           262.   LiveRamp has wrongfully and unlawfully trafficked in Plaintiffs’ and the United
 6   States Class members’ personal information and other personal information without their consent
 7   and for substantial profits.
 8          263.    Plaintiffs’ and the United States Class members’ personal information and data have
 9   conferred an economic benefit on LiveRamp.
10          264.    LiveRamp has been unjustly enriched at the expense of Plaintiffs and Class members,
11   and the company has unjustly retained the benefits of its unlawful and wrongful conduct.
12          265.    It would be inequitable and unjust for LiveRamp to be permitted to retain any of the
13   unlawful proceeds resulting from its unlawful and wrongful conduct.
14          266.    Plaintiffs and the United States Class members accordingly are entitled to equitable
15   relief including restitution and disgorgement of all revenues, earnings, and profits that LiveRamp
16   obtained as a result of its unlawful and wrongful conduct.
17          267.    When a defendant is unjustly enriched at the expense of a plaintiff, the plaintiff may
18   recover the amount of the defendant’s unjust enrichment even if plaintiff suffered no corresponding
19   loss, and plaintiff is entitled to recovery upon a showing of merely a violation of legally protected
20   rights that enriched a defendant. LiveRamp has been unjustly enriched by virtue of its violations of
21   Plaintiffs’ and United States Class members’ legally protected rights to privacy as alleged herein,
22   entitling Plaintiffs and United States Class members to restitution of LiveRamp’s enrichment. “[T]he
23   consecrated formula ‘at the expense of another’ can also mean ‘in violation of the other's legally
24   protected rights,’ without the need to show that the claimant has suffered a loss.” Restatement
25   (Third) of Restitution § 1, cmt. a.
26           268.    The elements for a claim of unjust enrichment are (1) receipt of a benefit and (2)
27   unjust retention of the benefit at the expense of another. The doctrine applies where a plaintiff, while
28   having no enforceable contract, nonetheless has conferred a benefit on defendant which defendant

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 1   has knowingly accepted under circumstances that make it inequitable for the defendant to retain the
 2   benefit without paying for its value.
 3           269.    It is a longstanding principle of law embodied in the Restatement (Third) of
 4   Restitution and Unjust Enrichment (2011) that a person who is unjustly enriched at the expense of
 5   another may be liable for the amount of the unjust enrichment even if the defendant’s actions caused
 6   the plaintiff no corresponding loss. Where “a benefit has been received by the defendant but the
 7   plaintiff has not suffered a corresponding loss or, in some cases, any loss, but nevertheless the
 8   enrichment of the defendant would be unjust . . . [t]he defendant may be under a duty to give to the
 9   plaintiff the amount by which [the defendant] has been enriched.” Rest., Restitution, § 1, com. e.
10           270.    The comments to the Restatement (Third) explicitly recognize that an independent
11   claim for unjust enrichment may be predicated on a privacy tort. Restatement (Third) of Restitution
12   and Unjust Enrichment § 44 cmt. b (“Profitable interference with other protected interests, such as
13   the claimant’s right of privacy, gives rise to a claim under § 44 if the benefit to the defendant is
14   susceptible of measurement”).
15           271.    Because “[a] person is not permitted to profit by his own wrong,” id. § 3, “[g]ains
16   realized by misappropriation, or otherwise in violation of another’s legally protected rights, must be
17   given up to the person whose rights have been violated.” Id. ch. 5, introductory note. These
18   principles are deeply ingrained in California law. California courts have long recognized a common
19   law claim based on unjust enrichment. In determining the remedy for such claims, California courts
20   apply principles found in the Restatement.
21           272.    The unauthorized use of Plaintiffs’ and United States Class members’ information
22   for profit entitles them to profits unjustly earned.
23           273.    LiveRamp has unjustly profited from tracking, disclosing, and profiting from
24   Plaintiffs and United States Class members’ internet activity and real-world activity to third parties
25   without Plaintiffs and United States Class members’ knowledge or consent.
26           274.    Plaintiffs did not provide authorization for the use of their personal information, nor
27   did LiveRamp provide them with control over its use to produce revenue. This unauthorized use of
28   their information for profit entitles Plaintiffs to profits unjustly earned.

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 1          275.    It would be unjust and inequitable to allow LiveRamp to profit from its violation of
 2   Plaintiffs’ and United States Class members’ Constitutional, common law, and statutory rights as
 3   described herein.
 4          276.    LiveRamp was aware of the benefit conferred by Plaintiffs. Indeed, LiveRamp’s Data
 5   Marketplace is premised entirely on the sale of such data to third parties. LiveRamp acted in
 6   conscious disregard of the rights of Plaintiffs and United States Class members and should be
 7   required to disgorge all profit obtained therefrom to deter LiveRamp and others from committing
 8   the same unlawful actions again.
 9                                        Sixth Cause of Action
                Declaratory Judgment that LiveRamp Wrongfully Accessed, Collected,
10            Stored, Disclosed, Sold, and Otherwise Improperly Used Plaintiffs’ Personal
                                   Information and Injunctive Relief
11                                       (on behalf of all Classes)
12          277.    Plaintiffs incorporate the substantive allegations contained in all prior and succeeding
13   paragraphs as if fully set forth herein.
14          278.    The gravamen of this controversy lies in LiveRamp’s collection, tracking, and
15   analysis of Plaintiffs’ and Class members’ personal information and behavior, building dossiers
16   based on that information, and providing that information to third parties. Plaintiffs and Class
17   members never consented to, or were even aware of, LiveRamp’s conduct described herein.
18          279.    LiveRamp’s misconduct has put Plaintiffs’ and Class members’ privacy and
19   autonomy at risk, and violated their dignitary rights, privacy, and economic well-being.
20          280.    Accordingly, Plaintiffs seek appropriate declaratory relief, and injunctive relief as
21   prayed for below.
22   X.      PRAYER FOR RELIEF
23          281.    Plaintiffs respectfully request that the Court:
24                  A.       Issue an order determining that this action may be maintained as a class
25          action under Rule 23 of the Federal Rules of Civil Procedure, that Plaintiffs are proper class
26          representatives, that Plaintiffs’ attorneys shall be appointed as Class Counsel pursuant to
27          Rule 23(g) of the Federal Rules of Civil Procedure, and that Class notice be promptly issued;
28

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 1                  B.       Certify this action is a class action pursuant to Rule 23 of the Federal Rules
 2         of Civil Procedure;
 3                  C.       Appoint Plaintiffs to represent the Classes;
 4                  D.       Appoint undersigned counsel to represent the Classes;
 5                  E.       Enter Judgment in favor of Plaintiffs and the Class members against
 6         LiveRamp awarding damages, including statutory damages, punitive damage, and/or
 7         nominal damages, to Plaintiffs and the Class members, in an amount according to proof at
 8         trial, including interest thereon;
 9                  F.       Enter Judgment in favor of Plaintiffs and Class members against LiveRamp
10         awarding unjust enrichment and/or restitution of LiveRamp’s ill-gotten gains, revenues,
11         earnings, or profits that it derived, in whole or in part, from its unlawful collection and use
12         of Plaintiffs’ and Class members’ personal information, in an amount according to proof at
13         trial;
14                  G.       Enter Declaratory Judgment in favor of Plaintiffs and Class members against
15         LiveRamp pursuant to 28 U.S.C. § 2201, declaring that LiveRamp’s conduct is unlawful as
16         alleged herein.
17                  H.       Permanently restrain LiveRamp, and its officers, agents, servants,
18         employees and attorneys, from intercepting, tracking, collecting, or compiling the personal
19         information of Plaintiffs and Class members as alleged herein;
20                  I.       Award Plaintiffs and Class members their reasonable costs and expenses
21         incurred in this action, including attorneys’ fees and expert fees; and
22                  J.       Grant Plaintiffs and Class members further equitable, injunctive,
23         declaratory, or other relief as the Court deems appropriate.
24   XI.    DEMAND FOR JURY TRIAL
25          Plaintiffs demand a trial by jury of all issues so triable.
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 1    Dated: April 18, 2025         Respectfully Submitted,
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                                                           FIRST AMENDED CLASS ACTION COMPLAINT
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 1                                                ATTESTATION
 2               Pursuant to Civil Local Rule 5.1 regarding signatures, I attest that concurrence in the

 3   filing of this document has been obtained from the other signatories.

 4

 5   Dated: April 18, 2025                             /s/ Jason O. Barnes
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 6                                                     SIMMONS HANLY CONROY LLP
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                                                                          FIRST AMENDED CLASS ACTION COMPLAINT
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